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                IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. CROIX

CLIFFORD BOYNES,            CHRIS     CHRISTIAN,
MARGARET THOMPSON, DELIA ALMESTICA,
CARLOS         CHRISTIAN,     ANNA        REXACH-
CONSTANTINE, MERVYN CONSTANTINE, NEAL                    Case Nos. 1:21-cv-00253; 2021-cv-00259;
DAVIS, EDNA SANTIAGO, GUIDRYCIA WELLS,                        2021-cv-00260; 2021-cv-00261
O’SHAY WELLS, AARON G. MAYNARD, VERNE
MCSWEEN,          ROCHELLE      GOMEZ,          JOAN
MATHURIN, MYRNA MATHURIN, ANN MARIE
JOHN-BAPTISTE, WARRINGTON CHAPMAN,                          PLAINTIFFS’ CONSOLIDATED
LEOBA JOHN-BAPTISTE-PELLE, MARY L.                           AMENDED CLASS ACTION
MOORHEAD, BEECHER COTTON, PAMELA                                   COMPLAINT
COLON, SIRDINA ISAAC-JOSEPH, ESTHER
CLIFFORD, SYLVIA BROWNE, ALVINA JEAN-                         JURY TRIAL DEMANDED
MARIE ILARRAZA, RYAN ALLEYNE, AGNES
AUGUSTUS, CESARINA MIRANDA, HELEN
SHIRLEY, ANISHA HENDRICKS, CRISTEL
RODRIGUEZ, JOSIE BARNES, ARLEEN MILLER,
ROSALBA ESTEVEZ, JOHN SONSON, ISIDORE
JULES, VIRGINIE GEORGE, MINOR CHILD
“J.M.M.”, MINOR CHILD “V.M.”, MINOR CHILD
“Z.R.C.”, MINOR CHILD “M.M”, and MINOR
CHILD “O.N.”, individually and on behalf of all others
similarly situated,

Plaintiffs,
        v.
LIMETREE BAY VENTURES, LLC; LIMETREE
BAY HOLDINGS, LLC; LIMETREE BAY
PREFERRED HOLDINGS, LLC; LIMETREE BAY
TERMINALS, LLC (D.B.A. OCEAN POINT
TERMINALS); ARCLIGHT CAPITAL PARTNERS,
LLC; ARCLIGHT ENERGY PARTNER FUND VI,
L.P.; ARCLIGHT LIMETREE AIV, L.P.; EIG
GLOBAL ENERGY PARTNERS, LLC; FREEPOINT
COMMODITIES, LLC; BP PRODUCTS NORTH
AMERICA, INC.; UNIVERSAL PLANT SERVICES,
(VI), LLC; EXCEL CONSTRUCTION AND
MAINTENANCE VI, INC.; ELITE TURNAROUND
SPECIALISTS, LTD.; PINNACLE SERVICES LLC;
VERSA INTEGRITY GROUP, INC.; and NATIONAL
INDUSTRIES SERVICES, LLC,

Defendants.
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            PLAINTIFFS’ CONSOLIDATED CLASS ACTION COMPLAINT

       Plaintiffs and Class Representatives CLIFFORD BOYNES, CHRIS CHRISTIAN,

MARGARET THOMPSON, DELIA ALMESTICA, CARLOS CHRISTIAN, ANNA REXACH-

CONSTANTINE,        MERVYN        CONSTANTINE,         NEAL     DAVIS,     EDNA      SANTIAGO,

GUIDRYCIA WELLS, O’SHAY WELLS, AARON G. MAYNARD, VERNE MCSWEEN,

ROCHELLE GOMEZ, JOAN MATHURIN, MYRNA MATHURIN, ANN MARIE JOHN-

BAPTISTE, WARRINGTON CHAPMAN, LEOBA JOHN-BAPTISTE-PELLE, MARY L.

MOORHEAD, BEECHER COTTON, PAMELA COLON, SIRDINA ISAAC-JOSEPH, ESTHER

CLIFFORD, SYLVIA BROWNE, ALVINA JEAN-MARIE ILARRAZA, RYAN ALLEYNE,

AGNES AUGUSTUS, CESARINA MIRANDA, HELEN SHIRLEY, ANISHA HENDRICKS,

CRISTEL RODRIGUEZ, JOSIE BARNES, ARLEEN MILLER, ROSALBA ESTEVEZ, JOHN

SON SON, ISIDORE JULES, and VIRGINIE GEORGE (collectively, “Plaintiffs”), individually

and on behalf of all others similarly situated (the “Class”), bring this Consolidated Amended Class

Action Complaint (the “Complaint”) against Defendants LIMETREE BAY VENTURES, LLC,

LIMETREE BAY HOLDINGS, LLC, LIMETREE BAY PREFERRED HOLDINGS, LLC,

LIMETREE BAY TERMINALS, LLC (D.B.A. OCEAN POINT TERMINALS), ARCLIGHT

CAPITAL PARTNERS, LLC, ARCLIGHT ENERGY PARTNER FUND VI, L.P., ARCLIGHT

LIMETREE AIV, L.P., EIG GLOBAL ENERGY PARTNERS, LLC, FREEPOINT

COMMODITIES, LLC, BP PRODUCTS NORTH AMERICA, INC., UNIVERSAL PLANT

SERVICES (VI), LLC, EXCEL CONSTRUCTION AND MAINTENANCE VI, INC., ELITE

TURNAROUND SPECIALISTS, LTD., PINNACLE SERVICES LLC, VERSA INTEGRITY

GROUP, INC., and NATIONAL INDUSTRIAL SERVICES, LLC (collectively, “Defendants”)

for violations of law. Additional plaintiffs include minor child “J.M.M.”, by and through his

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mother Anna Rexach-Constantine; minor child “V.M.”, by and through his mother Anna Rexach-

Constantine; minor child “Z.R.C.”, by and through his mother Anna Rexach-Constantine; minor

child “M.M.”, by and through his mother Anna Rexach-Constantine; and minor child “O.N.”, by

and through his mother Guidrycia Wells. The allegations herein are made based on each Plaintiff’s

personal knowledge as to the allegations pertaining to himself/herself, and upon information,

belief, and investigation by counsel as to all other matters.

I.      INTRODUCTION

        1.     This case stems from the catastrophic failed restart of Limetree Bay Refinery

located on St. Croix, United States Virgin Islands (the “Refinery”), which caused the emission,

release, and discharge—on multiple occasions—of hazardous and toxic chemicals, substances,

gases, and odors, including, without limitation, oil, hydrogen sulfide, sulfur dioxide, polycyclic

aromatic hydrocarbons, including naphthalenes, other petroleum hydrocarbons, and other

chemicals, toxins, and particulates (collectively, the “Toxins”) from February 2021 until the

Refinery was forced to shut down..

        2.     The Refinery’s failed restart is a direct consequence of rushed, inadequate,

intentional, reckless and/or negligent actions taken by each Defendant named herein. Specifically,

on February 1, 2021, Defendants restarted the long-dormant 55-year-old Refinery that had been

closed due, in part, to other environmental disasters that previously harmed St. Croix residents.

While Defendants assured the public that “[i]ndustry leading safety performance was maintained

throughout the restart project,” 1 reality shows that the opposite was indeed true. Defendants’ restart

of the Refinery was anything but safe.



1
   https://eigpartners.com/limetree-bay-ventures-commences-refinery-startup-operations/           (last
accessed Sept. 21, 2023).
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        3.      Defendants Limetree Bay Ventures, LLC, Limetree Bay Holdings, LLC, Limetree

Bay Preferred Holdings, LLC and Limetree Bay Terminals, LLC (collectively, the “Limetree

Defendants”) were undercapitalized, understaffed, and entirely reliant on certain backers—

Defendants ArcLight Capital Partners, LLC, ArcLight Energy Partner Fund VI, LP, ArcLight

Limetree AIV, L.P., EIG Global Energy Partners, and Freepoint Commodities, LLC (collectively,

the “Private Equity Defendants”)—for their management and operations in restarting the Refinery.

        4.      The Private Equity Defendants, however, were not concerned about proper

management or safe operation of the Refinery. Their only objective was to capitalize quickly on

an emerging fuel market. As delays plagued the Refinery restart and put the Defendants’ window

of profitability in the emerging market at risk, the Private Equity Defendants and Defendant BP

Products North America, Inc. (“BP Products”) waged their power and control to usher in the

Refinery’s restart as quickly and cheaply as possible.

        5.      With only profits in mind, the Limetree Defendants and Private Equity Defendants

succeeded in avoiding millions of dollars in environmental safeguards, avoided extensive

inspections and audits of the dilapidated Refinery equipment, and bypassed necessary timelines

for an adequate review of environmental permits affecting the Refinery. Had the Private Equity

Defendants and Limetree Defendants implemented those safeguards, underwent those inspections,

and/or adhered to the ordinary regulatory process to obtain permits necessary to the Refinery’s

restart, the deficiencies plaguing the Refinery would have been revealed, and the disastrous results

of the restart, avoided.

        6.      Without the costs and delay imposed by refurbishing the Refinery in accordance

with regulatory standards and best practices, the Private Equity Defendants and Limetree

Defendants forged ahead with the Restart, and together with Defendants Universal Plant Services,


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LLC, Excel Construction and Maintenance VI, Inc., Elite Turnaround Specialists, Ltd., Pinnacle

Services, LLC, Versa Integrity Group, Inc, and National Industries Services, LLC (collectively,

the “Contractor Defendants”), and BP Products, as well as other contractors, vendors, and entities

that will be identified through the discovery process, haphazardly restarted the previously

mothballed Refinery without critically necessary improvements and repairs, far before it was ready

to safely operate.

        7.     Defendants’ premature restart of the Refinery immediately, and predictably,

resulted in an onslaught of significant contamination incidents that had devastating consequences

for the local communities, including severe impacts to the property, health, safety, and well-being

of persons in those communities and property owners.

        8.     Within four days of the Refinery’s restart, on February 4, 2021, the Refinery

malfunctioned. In April and May 2021, the Refinery again severely malfunctioned on multiple

occasions, culminating in a “flare out” of unprecedented scale (together with the February 4, 2021

incident, the “Incidents”). 2 The U.S. Environmental Protection Agency (“EPA”) found that the

Incidents showered oil on local residents twice, spewed sulfuric gases into the surrounding area,

and released hydrocarbons into the air, subjecting downwind communities to “immediate and

significant” impact on people and their property. 3 The EPA found that the St. Croix communities

downwind of the Refinery suffered through “at least four incidents [that] occurred at the Facility

that each ha[d] an immediate and significant health impact on multiple downwind communities.”4



2
  Specifically, as used herein, the “Incidents” refer to the Refinery releases, including, without
limitation, the releases that occurred on February 4, 2021, April 23, 2021, May 5, 2021, and May
12, 2021.
3
  In the matter of Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC, Clean Air Act
Emergency Order, CAA-02-2021-1003 (EPA, Region 2) (May 14, 2021) (“In re Limetree”).
4
  Id. at ¶ 33.
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Further, even prior to the official restart, the Refinery reported non-compliance with the EPA’s

regulations nearly every day from December 15, 2020 up until the final May 12, 2021 Incident.

          9.        The Incidents and the daily onslaught of emissions from the Refinery were so

harmful to the health and human safety of surrounding communities, that within just over three

months, the EPA shut the Refinery down pursuant to its emergency powers under the Clean Air

Act—an action the EPA had taken only three times before—and warned that the Refinery’s

continued operation was an “imminent” threat to the health of the people on the island. 5

          10.       The Incidents caused harm to the Plaintiffs and Class Members as defined below.

The release of the Toxins from the Refinery impacted Plaintiffs and Class Members, including

their health, real property and personal property. This harm has among other things negatively

affected property values, contaminated and harmed the local water supply, is a blight and nuisance

on Plaintiffs’ and the Class Members’ communities, and has deprived Plaintiffs and Class

Members of their free use and enjoyment of their real and personal property, including the ability

to safely use their cisterns for potable water and damage to foliation and crops.

          11.       The Toxins have been and continue to be sources of hazardous substance emissions

into, onto, within, and surrounding real property and personal property, as well as persons in the

affected geographic areas, and Defendants have refused to accept responsibility and remediate the

contamination.

          12.       As such, Plaintiffs, individually and on behalf of all others similarly situated, bring

this Complaint in order to seek redress for all of the harms caused by Defendants’ negligent,

intentional, reckless, and careless ownership, restarting, operation, maintenance, hiring,

investment and/or work performed at and regarding the Refinery, and Plaintiffs seek to, among


5
    Id. at ¶ 111.
                                                      6
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other things, hold accountable all entities and persons who are responsible for the Incidents and

releases of Toxins from the Refinery.

II.     JURISDICTION AND VENUE

        13.      This Court has federal question jurisdiction over Plaintiffs’ claims arising under the

Comprehensive Environmental Response, Compensation, and Liability Act (“CERCLA”),

pursuant to 28 U.S.C. § 1331 because those claims arise under a federal statute. This Court also

has jurisdiction pursuant to 28 U.S.C. § 1453. This Court has supplemental jurisdiction over

Plaintiffs’ territorial law claims pursuant to 28 U.S.C. § 1367 because those claims arise out of a

common nucleus of facts with the federal claims alleged herein.

        14.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to Plaintiffs’ claims occurred in this District and a substantial part

of property and injuries that are the subject of this action are situated in this District. Venue is also

proper pursuant to 42 U.S.C. § 9613(b) because the unlawful releases and damages occurred within

this District.

III.    PARTIES

        15.      Named     Plaintiffs   and    Class    Representatives     (“Plaintiffs”   or   “Class

Representatives”) are all persons who owned property (real and/or personal), and/or operated a

business, and/or were in or worked or resided on St. Croix and who have been impacted by the

Defendants’ conduct alleged herein from the date on which the Limetree and Private Equity

Defendants acquired the Limetree Bay Facility through the present.

        16.      Class Representative Clifford Boynes, a former Hess Oil Refinery worker, is a

resident of St. Croix, United States Virgin Islands (77A Estate Whim, Frederiksted), and was

impacted by the Incidents. After the Incidents, oil was found on his vehicle and on the windows


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and roof of his house. Limetree conducted an inspection of his house and found oil. In order for

Limetree to conduct cleanup of his cistern, he was forced to sign a release. When he tried to

retrieve the release, he was told it was too late. He suffers from nasal allergies, which were

exacerbated by the strong smell of sulfur and gas he observed between late April and mid-May

2021. He recognized the odors from his work at the Refinery. He also experienced burning in his

nose and more sneezing than usual.

       17.     Class Representative Chris Christian is a resident of St. Croix, United States Virgin

Islands (33A Prince Street, Frederiksted), and was impacted by the Incidents. Mr. Christian is also

a former Hess Oil Refinery worker. When the Incidents alleged herein occurred, he recognized the

smell of rotten eggs and sulfur on his property and around his home. Thereafter, he had difficulty

sleeping and experienced great discomfort from the fumes to the point that he evacuated his family

to Christiansted. He is also asthmatic, which was aggravated by the Incidents.

       18.     Class Representative Margaret Thompson is a resident of St. Croix, United States

Virgin Islands (9402 Smithfield, Frederiksted), and was impacted by the Incidents. She observed

oil around the exterior of her home. Limetree inspected and acknowledge the presence of oil on

her property and promised to clean up her property. She was told she would have to sign a release

before it would make any effort to clean her property, but she has not heard from Limetree since

that time. At the time of the Incidents, Ms. Thompson smelled a heavy scent of gas for several

days. The fumes penetrated the windows of her home and kept her up at night. She suffered from

burning eyes and a sore and scratchy throat for weeks between April and May 2021.

       19.     Class Representative Delia Almestica is a resident of St. Croix, United States

Virgin Islands (1 Williams Delight, #174 Frederiksted), and was impacted by the Incidents. In

early March 2021, Ms. Almestica found oil on her vehicle and the walls of her home. A sheen


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appeared on the surface of her cistern water. When she bathed, the oil residue remained on her

skin. She smelled fumes of gas and oil and had difficulty breathing. She is asthmatic, which was

aggravated by the Incidents. Ms. Almestica owns a home business where she grows and sells fruit

and vegetable plants. Following the incidents, her plants began to die off rapidly. She also has a

sewing business that she operates out of her home. Her sewing equipment and materials were

covered in dark brown soot from the heavy smoke released during the Incidents.

       20.     Class Representative Carlos Christian is a resident of St. Croix, United States

Virgin Islands (38C Whim, Frederiksted), and was impacted by the Incidents. Mr. Christian works

for the National Guard and was among the group of Hazmat first responders that conducted testing

outside the perimeter of the Limetree Bay Facility following the flaring incident. Personally, he

saw visible oil on his vehicle and around his home in Frederiksted. His property was inspected by

Limetree for oil. He was told they would return to clean his property, but no one from Limetree

returned.

       21.     Class Representative Anna Rexach-Constantine is a resident of St. Croix, United

States Virgin Islands (25D Stony Ground, Frederiksted), and was impacted by the Incidents.

Following the Incidents, Ms. Rexach-Constantine observed oily smears on the windshield of her

vehicle when she attempted to clean it. The windshield had to be cleaned with window cleaner.

       22.     Class Representative Mervyn Constantine is a resident of St. Croix, United States

Virgin Islands (25D Stony Ground, Frederiksted), and was impacted by the Incidents. Mr.

Constantine also works in Frederiksted. Oil was observed in the vicinity of his home and on his

vehicle. During the incidents alleged herein, he smelled a strong odor and began to experience

headaches and difficulty breathing. He is asthmatic, which was aggravated by the Incidents, and

had to use his Albuterol pump more often than usual.


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       23.     Class Representative Neal Davis is a resident of St. Croix, United States Virgin

Islands (4801 Estate Quinn, Marley Apartments, Building 3, Apt. 20), and was impacted by the

Incidents. Mr. Davis’s personal property that was damaged by the release of Toxins includes home

furnishings, personal clothing and cistern water. Mr. Davis was hospitalized for symptoms of

dizziness, vomiting and weakness after smelling strong odors at his home. Prior to that, in or

around, April 2021, his left eye started burning. The burning exacerbated prior issues with his

eyes. In May 2021, the pain got significantly worse.

       24.     Class Representative Edna Santiago is a resident of St. Croix, United States Virgin

Islands (No. 107 Cane Bay, Frederiksted), and was impacted by the Incidents. She smelled the

strong odor of gasoline resulting from Defendants’ operations of the Refinery. Significant amounts

of oil were found on the exterior of her home, several fruit trees, cars, home furnishings and

vehicles, which were also damaged by Defendants’ release of Toxins. As a result, she suffered

headaches, sore throat, itchy eyes and nausea.

       25.     Class Representative Guidrycia Wells is a resident of St. Croix, United States

Virgin Islands (19B Lorraine Village, Frederiksted), and was impacted by the Incidents. Ms. Wells

returned from the hospital on May 4, 2021 after giving birth. The contents of her residence were

damaged by the Incidents. Within days she started to smell strong orders of gasoline, sulfur and

rotten eggs. She had difficulty sleeping as a result of the odors. She had to close the windows to

her residence but could still smell the heavy odor. She experienced severe headaches and nausea.

       26.     Class Representative O’Shay Wells is a resident of St. Croix, United States Virgin

Islands (19B Lorraine Village, Frederiksted), and was impacted by the Incidents. Mr. Wells found

oil on his vehicle which had to be washed thoroughly to remove the oil. During the string of

Incidents alleged herein, Mr. Wells woke up feeling weak. He went to work and started vomiting.


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His eyes turned yellow.

        27.    Class Representative Aaron G. Maynard is a resident of St. Croix, United States

Virgin Islands (No. 72B Grove Place, Frederiksted), which was impacted by the Incidents. The

contents of the home, his fruit trees and cistern water were damaged by the Incidents. Mr. Maynard

observed a heavy metallic smell of gasoline in early May. He experienced dizziness and stomach

aches that lasted until the following day. The following weekend, he started feeling the effects of

the Incidents more deeply and was weak.

        28.    Class Representative Verne McSween is a resident of St. Croix, United States

Virgin Islands (292A 54 Est. Barren Spot KI Apt. 2), and was impacted by the Incidents. Mr.

McSween works at the Lionel A. Jackson National Guard Armory. Mr. McSween observed oil on

the vehicles at his residence that could only be removed with a degreaser as well as the vehicle he

keeps at his parents’ home (222 Mount pleasant, Frederiksted, St. Croix). As a result of the

Incidents, Mr. McSween began experiencing a strong scent of sulfur and rotten eggs. He has

suffered stomach aches and diarrhea.

        29.    Class Representative Rochelle Gomez is a resident of St. Croix, United States

Virgin Islands (1BA Two Brothers, Frederiksted), and was impacted by the Incidents. The property

contains two residential structures and several fruit trees that were damaged by the Incidents. Ms.

Gomez noted the strong smell of gasoline at the time the Incidents. She recalls the weather being

very windy and the fumes becoming stronger with the wind. She closed the windows, but it did

not help much. She could not sleep at night. She experienced sore throat, burning nose, throat and

eyes.

        30.    Class Representative Joan Mathurin is a resident of St. Croix, United States Virgin

Islands (No. 44 Upper Love, Frederiksted), and was impacted by the Incidents. Ms. Mathurin


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smelled a strong odor of gas and thought that gas was escaping from somewhere in her house. Ms.

Mathurin’s personal belongings also carried a heavy odor of gas. She was nauseous to the point

that she believed she was dying. Her eyes burned. She did not get any relief until she went to the

northern part of her property.

        31.     Class Representative Myrna Mathurin is a resident of St. Croix, United States

Virgin Islands (No. 44 Upper Love, Frederiksted), and was impacted by the Incidents. Her vehicle

and personal belongings were damaged by the Incidents. She noted the strong scent of gas and

called the gas company to check for leaks inside the home. None were found. She suffered stomach

aches, red eyes and soreness in her throat.

        32.     Class Representative Ann Marie John-Baptiste is a resident of St. Croix, United

States Virgin Islands (763 William’s Delight, Frederiksted), and was impacted by the Incidents.

The contents of the property were also damaged by the Incidents. Ms. John-Baptiste began to smell

strong odors of gas sometime in early March and April. The scent was the strongest in her bedroom

and prevented her from sleeping comfortably. She was ultimately taken by ambulance to the Juan

F. Luis Hospital where she stayed for about a week. She received oxygen and a blood transfusion.

The Limetree Defendants inspected her property and found evidence of oil in the waterspouts

leading to the cistern. No clean-up was done.

        33.     Class Representative Warrington Chapman is a resident of St. Croix, United States

Virgin Islands (No. 23 White Lady, Frederiksted), and was impacted by the Incidents. Mr.

Chapman had to be evacuated. Mr. Chapman smelled strong odors of gas and sulfur for several

days. He suffered from nausea, difficulty breathing and strange headaches. He observed oily

residue on the fruits in his garden as a result of the Incidents.

        34.     Class Representative Loeba John-Baptiste-Pelle is a resident of St. Croix, United


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States Virgin Islands and owns real property (No. 961 William’s Delight, Frederiksted), and was

impacted by the Incidents.

       35.     Class Representative Mary L. Moorhead is a resident of Estate Whim, St. Croix,

United States Virgin Islands, and was impacted by the Incidents. Ms. Moorhead’s property,

including her roof, cistern, and fruit trees, was covered in oil droplets. Ms. Moorhead also

experienced adverse health effects, including headaches and cracked, peeling fingers.

       36.     Class Representative Beecher Cotton is a resident of St. Croix and a homeowner

who lives approximately one half-mile from the Refinery. Following the February 4 Incident, Mr.

Cotton discovered that his home’s roof was covered with oil and he also found oil on his car parked

outside his home. Approximately two weeks after the February 4 Incident, representatives from

the Refinery came to Mr. Cotton’s home and discovered oil in his cistern that he used to obtain

water to shower and feed his sheep. Oil and toxic contaminants also seeped into Mr. Cotton’s soil

as a result of the Incidents, which concerned Mr. Cotton because he grows fruit and avocadoes on

his property that he trades with his neighbors. In addition to the contamination of his property, Mr.

Cotton suffered physical injuries resulting from the Incidents, including that his eyes watered

severely and became extremely itchy for two to four days. Eventually his eyes were swollen shut,

his face became red, and he was bedridden as a result of his reaction to the Toxins. Mr. Cotton

also suffered from lack of sleep, stress, and other psychological damage as a result of loud noises

coming from the Refinery in the middle of the night.

       37.     Class Representative Pamela Colon is a resident of St. Croix, and on May 13, 2021,

she was driving in the vicinity of the Refinery on her way to the Virgin Islands Bureau of Motor

Vehicles (“BMV”), when she began to smell a metallic scent and both of her eyes started to water

and became itchy. As Ms. Colon headed further west past the Refinery, she experienced a sharp


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stabbing pain behind her left eye and started coughing. Her coughing worsened and became

uncontrolled, and she began to feel nauseous. Ms. Colon, who has asthma, parked at the BMV,

and immediately used her Ventalin and Flovent inhalers. On her way home from the BMV, heading

east, Ms. Colon again became nauseous and experienced itchy and watery eyes as she approached

the La Reine Shopping Center. In fact, Ms. Colon experienced physical symptoms much worse

than before. The stabbing pain behind her left eye was unbearable and her entire face became

swollen. Ms. Colon went immediately home to remove and wash her clothes and take a shower.

Ms. Colon suffers stress and emotional distress from the experience and the worry of long-term

health impacts.

       38.     Class Representative Sirdina Isaac-Joseph is a resident of St. Croix and a

homeowner who lives downwind from the Refinery in the Mount Pleasant, Fredricksted

neighborhood. Following the Incidents, Ms. Isaac-Joseph noticed a black substance appearing to

be oil residue on her roof and cars. In addition, Ms. Isaac-Joseph experienced watery and itchy

eyes, shortness of breath, headaches, and nausea because of the foul odors released into the air

from the Refinery. In addition, Ms. Isaac-Joseph, who suffers from asthma, and she had to use her

Albuterol inhaler more than usual following the Incidents. Some days the foul smell was so bad

that Ms. Isaac-Joseph had to leave her home. When she returned home, she had to close all the

windows and doors and run the air-conditioning, which caused her to incur increased electrical

costs. Plaintiff Isaac-Joseph suffers from stress and emotional distress from her experience and the

worry of long-term health impacts from the Incidents. She is also in distress and fear due to the

potential for ammonia and other toxic leaks or fires that could be catastrophic.

       39.     Class Representative Esther Clifford is a resident of St. Croix and owns her

residence at 128 Estate Diamond. Following the Incidents, Clifford experienced burning inside her


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nostrils, itchy, watery eyes, and headaches because of the foul odor arising from the Refinery. Ms.

Clifford had to buy air purifiers, Odo Ban spray, and Lysol to alleviate the foul and horrible smell

emanating from the Refinery. In addition, Ms. Clifford observed a dark, brown mist on her house,

cars, and in her yard. Representatives from Limetree came to Ms. Clifford’s residence and

informed her that the mist was oil. For a period, Limetree representatives delivered cases of water

for Plaintiff to use because her water supply was contaminated with oil. Ms. Clifford suffers from

stress and emotional distress from her experience and the worry of long-term health impacts

resulting from the Incidents. Further, she lives in fear and distress of a catastrophic discharge of

toxic chemicals or fires erupting at the Refinery.

       40.     Class Representative Sylvia Browne is a resident of St. Croix and owns her

residence at 18 Clifton Hill. As a result of the Incidents, Ms. Browne experienced nausea, upset

stomach, and fatigue, and was forced to leave her home many times to escape the foul and noxious

odors emanating from the Refinery. Moreover, when representatives from Limetree inspected Ms.

Browne’s home, they found an extensive amount of oil on her property, including on the roof and

walls, cars, and in the cistern. Ms. Browne also suffered damage to her fruit trees located in her

yard, and to her real property. In addition, Ms. Browne suffers from stress and emotional distress

from her experience and the worry of long-term health impacts resulting from the Incidents. She

also lives in fear and distress of catastrophic discharges or fires at the Refinery.

       41.     Class Representative Alvina Jean-Marie Ilarraza is a resident of St. Croix who

rented a home located at 305 Enfield Green. As a result of the Incidents, a foul and noxious odor

from the Refinery forced Ms. Ilarraza to evacuate her home for two days and check in to the King

Christian Hotel in Christiansted. In addition, Ms. Ilarraza suffered nausea and headaches because

of the foul odor. Further, Ms. Ilarraza was unable to engage in her usual routine of sitting and


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relaxing on her porch because of the poor air quality and the unknown effects it would have on her

health long-term. In fact, Ms. Ilarraza suffers from stress and emotional distress from her

experience and the worry of long-term health impacts resulting from the Incidents. She also lives

in fear and distress of a catastrophic chemical leak or fires at the Refinery.

       42.     Class Representative Ryan Alleyne is a resident of St. Croix who resides at 6

Enfield Green. In late April 2021, Mr. Alleyne noticed a powerful odor emanating from the

Refinery, which remained in the air for weeks and permeated throughout Mr. Alleyne’s home. Mr.

Alleyne also noticed a substance on his residence and vehicle that appeared to be black oil. His

home was covered in black spots and the entirety of his vehicle was covered with the black oil-

like substance. In addition to the damage to his property, as a result of the foul odor produced by

the Refinery, Mr. Alleyne suffered from a burning sensation and pain in his throat, hoarseness and

nausea that led to multiple instances of vomiting. Because of his proximity to the Refinery, Mr.

Alleyne continues to live in fear and distress of a catastrophic chemical leak or fires at the Refinery

and suffers from stress and emotional distress from his experience and the worry of long-term

health impacts resulting from the Incidents.

       43.     Class Representative Agnes Augustus is a resident of St. Croix who resides at 165

Clifton Hill. Ms. Augustus first noticed an odor emanating from the Refinery on April 28, 2021

and continued to smell the foul odor for weeks afterward, including in her home, where the odor

was especially strong inside her bedroom. The odor was so strong, and its effects so unpleasant,

that Ms. Augustus had to leave her home to seek reprieve from the odor and its effects. Moreover,

Ms. Augustus’s residence was coated in what appeared to be black oil, including on the roof and

cistern. In addition to the contamination of her property as a result of the Incidents, Ms. Augustus

also experienced headaches, eye pain and irritation, chest pain, an aching back, throat pain and


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irritation, difficulty breathing, nausea, and stomach pain. Ms. Augustus’s symptoms led her to seek

medical attention. She visited the hospital on April 23, 2021 and was told to consume fluids to

help the symptoms.

       44.     Class Representative Cesarina Miranda is a resident of St. Croix who resides at 69

Estate Profit. Ms. Miranda first began to notice a foul odor from the Refinery toward the end of

April 2021 and continued to smell the odor weeks later. As a result of the odor emanating from

the Refinery, Ms. Miranda experienced eye irritation and pain, a runny nose, sneezing, throat

irritation and pain, headaches, stomach pain and diarrhea. In her attempt to escape the odor and

the symptoms it caused, Ms. Miranda began to leave her home during the day and return at night.

Further, Ms. Miranda sought medical attention for the symptoms she experienced and was

prescribed medication to attempt to alleviate them.

       45.     Class Representative Helen Shirley is a citizen of the United States Virgin Islands

and a resident of St. Croix (340 Barren Spot), which was impacted by the Incidents. During the

Incidents alleged herein, Ms. Shirley noticed a strong odor and experienced headaches, nausea and

shortness of breath. Ms. Shirley had to seek medical treatment for these symptoms.

       46.     Class Representative Anisha Hendricks is a citizen of the United States Virgin

Islands and a resident of St. Croix (90 Williams Delight, Frederiksted), which was impacted by

the Incidents. Ms. Hendricks noticed a strong odor both inside and outside of her home. During

the Incidents alleged herein, Ms. Hendricks experienced nausea, headaches, vomiting, irritated

eyes and a burning sensation on her tongue.

       47.     Class Representative Cristel Rodriguez is a citizen of the United States Virgin

Islands and a resident of St. Croix (#5E Estate La Grange, Frederiksted), and was impacted by the

Incidents. Ms. Rodriguez had to leave her home and relocate numerous times to avoid the


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overpowering odor that was present there. During the Incidents alleged herein, Ms. Rodriguez

experienced severe headaches, coughing, dizziness, irritated eyes, difficulty breathing, stomach

and chest pain, weakness, nausea and a burning sensation in the eyes, nose and throat. She had to

seek medical treatment for these symptoms.

       48.     Class Representative Josie Barnes is a citizen and resident of Texas who was

impacted by the Incidents. During the Incidents alleged herein, Ms. Barnes noticed a strong odor

and experienced nausea, sore throat, dizziness and headaches. Ms. Barnes had to seek medical

treatment for these symptoms.

       49.     Class Representative Arleen Miller is a citizen and resident of Colorado who was

impacted by the Incidents. During the Incidents alleged herein, Ms. Miller noticed a strong odor

and experienced headaches, nausea, and a burning sensation in her throat and eyes.

       50.     Class Representative Rosalba Estevez is a citizen and resident of New Jersey who

was impacted by the Incidents. During the Incidents alleged herein, Ms. Estevez noticed a strong

odor and experienced headaches, stomach pain and irritated eyes.

       51.     Class Representative John Son Son is a citizen of the United States Virgin Islands

and a resident of St. Croix (259 Grove Place), and was impacted by the Incidents. During the

Incidents alleged herein, Mr. Son Son noticed a strong odor and experienced itchy skin and a

burning sensation in the eyes, nose and throat. Mr. Son Son is a farmer who experienced problems

with his vegetables as a result of the Incidents.

       52.     Class Representative Isidore Jules is a citizen of the United States Virgin Islands

and a resident of St. Croix (99F Estate Whim, Frederiksted), and was impacted by the Incidents.

During the Incidents alleged herein, Mr. Jules noticed a strong odor and experienced itchy skin

and a burning sensation in the eyes, nose and throat.


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       53.     Class Representative Virginie George is a citizen and resident of Texas who owns

three (3) houses at the 43 Cane Estate, which were impacted by the Incidents. For Limetree to

conduct cleanup, Mr. George was told to sign a release. Each of his homes was damaged by oil on

the roofs, walls, cisterns and perimeter walls.

       54.     Other Plaintiffs. Plaintiff Minor Child “J.M.M.”, by and through his mother Anna

Rexach-Constantine, is a resident of St. Croix, United States Virgin Islands (25D Stony Ground,

Frederiksted), and was impacted by the Incidents. Minor Child J.M.M is homeschooled. He

suffered burning eyes, watery eyes and runny nose, as well as stomach aches, diarrhea and

headaches, which were a direct result of physical impacts to the residence caused by the Incidents.

       55.     Plaintiff Minor Child “V.M.”, by and through his mother Anna Rexach-

Constantine, is a resident of St. Croix, United States Virgin Islands (25D Stony Ground,

Frederiksted), and was impacted by the Incidents. Minor Child V.M. is homeschooled. He suffered

from headaches, burning eyes, and frequent nose bleeds to the point of waking up with his pillow

bloody, which were a direct result of physical impacts to the residence caused by the Incidents.

       56.     Plaintiff Minor Child “Z.R.C.”, by and through his mother Anna Rexach-

Constantine, is a resident of St. Croix, United States Virgin Islands (25D Stony Ground,

Frederiksted), and was impacted by the Incidents. Minor Child Z.R.C. experienced burning eyes,

watery eyes, runny nose, stomach aches, headaches and diarrhea, which were a direct result of

physical impacts to the residence caused by the Incidents.

       57.     Plaintiff Minor Child “M.M”, by and through his mother Anna Rexach-

Constantine, is a resident of St. Croix, United States Virgin Islands (25D Stony Ground,

Frederiksted), and was impacted by the Incidents. Minor Child M.M. is homeschooled. He

experienced swollen, burning eyes, watery eyes and runny nose. He also experienced stomach


                                                  19
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aches, diarrhea and headaches. Though he has a history of asthma, he had never had an attack since

becoming a teenager. However, he has experienced wheezing since the Incidents. The

aforementioned ailments were a direct result of physical impacts to the residence caused by the

Incidents.

       58.     Plaintiff Minor Child “O.N.”, by and through his mother Guidrycia Wells, is a

resident of St. Croix, United States Virgin Islands (19B Lorraine Village, Frederiksted), and was

impacted by the Incidents. Plaintiff O.N. is a newborn baby. After exposure to the heavy gas fumes

released by Defendants’ conduct at his home, his mother took him to the clinic out of concern that

the fumes impacted the child. She was told there was nothing that could be done since he was a

newborn. The aforementioned ailments were a direct result of physical impacts to the residence

caused by the Incidents.

       59.     Defendants. Defendants Limetree Bay Ventures, LLC, Limetree Bay Holdings,

LLC, Limetree Bay Preferred Holdings, LLC, Limetree Bay Terminals, LLC (D.B.A. Ocean Point

Terminals), ArcLight Capital Partners, LLC, ArcLight Energy Partner Fund VI, L.P., ArcLight

Limetree AIV, L.P., EIG Global Energy Partners, LLC, Freepoint Commodities, LLC, BP

Products North America, Inc., Universal Plant Services (VI), LLC, Excel Construction And

Maintenance VI, Inc., Elite Turnaround Specialists, Ltd., Pinnacle Services LLC, Versa Integrity

Group, Inc., and National Industrial Services, LLC own, operate and/or performed work at or

regarding the aforementioned Limetree Bay Refinery which has caused harm to the Plaintiffs and

Class Members.




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        60.     Defendant Limetree Bay Ventures, LLC (“Limetree Bay Ventures”) is a holding

company that consisted of Limetree Bay Refining, LLC 6 and Limetree Bay Terminals, LLC, and

was owned by ArcLight (as described and defined below) and Freepoint Commodities, LLC during

the time period giving rise to the Incidents. Limetree Bay Ventures is a Delaware limited liability

company with its headquarters located in the United States Virgin Islands. Limetree Bay Ventures

avails itself to this Court by way of the fact that it does business in the United States Virgin Islands.

        61.     Defendant Limetree Bay Holdings, LLC (“Limetree Bay Holdings”) was the entity

involved in purchasing the Limetree Bay Facility, which consists of the Limetree Bay Terminal

and Limetree Bay Refinery (the “Facility”) out of the HOVENSA bankruptcy (as described and

defined below). Upon information and belief, at the time of the purchase of the Facility, ArcLight

(as defined below) and Freepoint Commodities, LLC owned Limetree Bay Holdings. Limetree

Bay Holdings is a Delaware limited liability company with its headquarters in the United States

Virgin Islands. Limetree Bay Holdings avails itself to this Court by way of the fact that it does

business in the United States Virgin Islands.


6
 Limetree Bay Refining was one of the entities responsible for operating the Refinery at the time
of the Incidents referenced in this Complaint. Limetree Bay Refining filed for Chapter 11
bankruptcy on July 14, 2021, in the United States Bankruptcy Court for the Southern District of
Texas (the “Limetree Bay Refining Bankruptcy”). Pursuant to Court order, Plaintiffs do not name
Limetree Bay Refining, LLC as a defendant in this Complaint, but reserve their right to do so. See
Order Approving Disclosure Statement on a Final Basis and Confirming Chapter 11 Plan
Liquidation of Limetree Bay Services, LLC and Affiliated Debtors, In re: Limetree Bay Services,
LLC, et al., No. 21-32351, ECF No. 1454 (Bankr. S.D. Tex. May 20, 2022) (the “Plan”); Order
Granting Liquidating Trustee’s Emergency Motion to enforce the Confirmation Order, In re:
Limetree Bay Services, LLC, et al., No. 21-32351, ECF No. 1685 (Bankr. S.D. Tex. Feb. 16, 2023).
       Limetree Bay Refining, LLC (“Limetree Bay Refining”) was organized under the laws of
the United States Virgin Islands and was doing business in the United States Virgin Islands at all
times relevant hereto. At the time of the toxic Incidents referenced in this Complaint, Limetree
Bay Refining was owned and/or controlled directly or indirectly by Defendants ArcLight Capital
Partners, EIG Global Energy Partners, LLC, and Freepoint Commodities, LLC, among others.


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       62.      Defendant Limetree Bay Preferred Holdings, LLC (“LBPH”) is a United States

Virgin Islands limited liability company with its headquarters located in the United States Virgin

Islands. LBPH holds or held an ownership stake in Defendant Limetree Bay Ventures.

       63.     Defendant Limetree Bay Terminals, LLC (d.b.a. Ocean Point Terminals)

(“Limetree Bay Terminals”) is responsible for operating the Limetree Bay Terminal, is a co-

permittee to the Facility’s Title V operating permit, and, during the time of the Incidents, had

merged with Limetree Bay Refinery. Limetree Bay Terminals is a United States Virgin Islands

limited liability company with its headquarters located in the United States Virgin Islands. During

the time period at issue in this Complaint, Limetree Bay Terminals was owned by ArcLight and

Freepoint Commodities, LLC. Limetree Bay Terminals avails itself to this Court by way of the

fact that it does business in the United States Virgin Islands.

       64.     Limetree Bay Ventures, Limetree Bay Holdings, LBPH, and Limetree Bay

Terminals are collectively referenced in this Complaint as the “Limetree Defendants.”

       65.     Defendant ArcLight Capital Partners, LLC (“ArcLight Capital”) is a direct or

indirect member of the joint venture that, during the time period at issue in this Complaint, owned

and operated the Facility. ArcLight Capital shares this joint venture with Defendant Freepoint

Commodities, LLC. ArcLight Capital identifies itself as the “contractual investment advisor” to

Defendant ArcLight Energy Partners Fund VI, L.P. and Defendant ArcLight Limetree AIV, L.P.

ArcLight Capital is a Delaware limited liability company with its headquarters located in

Massachusetts. ArcLight Capital avails itself to this Court by way of the fact that it does business

in the United States Virgin Islands.

       66.     Defendant ArcLight Energy Partners Fund VI, L.P. (“AEPF”) is a Delaware limited

partnership. Defendant AEPF’s general partner is ArcLight PEF GP VI, LLC, and is a Delaware


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limited liability company with its headquarters located in Massachusetts. AEPF previously held

an ownership interest in Defendant Limetree Bay Preferred Holdings, LLC and currently holds an

ownership interest in Defendant Limetree Bay Holdings, LLC. With $5.6 billion in assets, AEPF

is ArcLight Capital’s largest fund to date by nearly 200%.

       67.     Defendant ArcLight Limetree AIV, L.P. (“AAIV”) is a limited partnership with its

office and headquarters in Massachusetts. The citizenship of its members is presently unknown.

AAIV previously held an ownership interest in Defendant Limetree Bay Preferred Holdings, LLC

and currently held an ownership interest in Defendant Limetree Bay Holdings, LLC.

       68.     ArcLight Capital, AEPF, and AAIV are collectively referenced in this Complaint

as “ArcLight,” unless otherwise specified.

       69.     Defendant EIG Global Energy Partners, LLC (“EIG”) is a private equity company

that purports to specialize in private investments in energy and energy-related infrastructure. Funds

and accounts managed by EIG led the preferred equity portion ($550 million) of a $1.25 billion

financing package that Defendant Limetree Bay Ventures secured in November 2018 to fund the

restarting of the Refinery. In a press release issued on February 1, 2021, EIG stated that “Limetree

Bay Ventures, LLC (“Limetree” or “the Company”), a world-class refinery, terminal and logistics

hub controlled by [EIG], today announced that Limetree Bay Refining (“the Refinery”) has

successfully resumed operations and begun production and commercial sales of refined

products.” 7 EIG is incorporated in the State of Delaware with its principal place of business located

in Washington, D.C. EIG does business in the United States Virgin Islands.




7
          https://eigpartners.com/limetree-bay-ventures-commences-refinery-startup-operations/
(emphasis added) (last accessed Sept. 21, 2023).
                                                 23
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       70.     Defendant Freepoint Commodities, LLC (“Freepoint”) is a member of the joint

venture that owned and operated the Facility during the time period at issue in this Complaint.

Freepoint shared this joint venture with Defendant ArcLight. Freepoint is a Delaware limited

liability company with its headquarters located in Connecticut. Freepoint avails itself to this Court

by way of the fact that it does business in the United States Virgin Islands.

       71.     Defendant BP Products North America, Inc. (“BP Products”) is incorporated in the

State of Delaware with its principal place of business located in Chicago, Illinois. BP Products has

significant involvement with the operation of the Refinery through its long-term tolling, supply,

and offtake agreements with the Limetree Defendants. Notably, BP Products provided liquidity to

fund the Refinery through a series of agreements entered into with certain of the Defendants.

Specifically, in or about November 2018, BP Products entered into agreements governing the

supply of crude oil and additional investments in the Refinery, including a feedstock agreement, a

product off-take agreement, and a tolling agreement. Under the terms of the feedstock agreement,

BP Products agreed to provide crude oil (i.e., feedstock) and other materials to the Refinery. Per

the off-take Agreement, BP Products agreed to market refined petroleum products from the

Refinery. As consideration for a share in the net margin of the Refinery, BP Products agreed to

invest up to $533 million in the Refinery to complete improvements and expansions related to the

manufacture of certain petroleum products, including low-sulfur transportation fuel. BP Products

was to recoup its investment under the tolling agreement via its share in the net margin generation

of the Refinery.

       72.     Defendant Universal Plant Services, (VI), LLC (“UPS”) is a United States Virgin

Islands limited liability company with its headquarters located in the United States Virgin Islands.

Defendant UPS performed certain work refitting the Refinery prior to its restart in February 2021.


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Specifically, on or about February 21, 2019, Defendants UPS and Limetree Bay Refining entered

into a contract pursuant to which UPS performed certain services at the Refinery, including

“engaging over 250 personnel on-site at the [] refinery to install, uninstall, repair, and overhaul

plant equipment, including fixed, rolling, rotating, reciprocating, and electrical equipment

(including steam turbines).” 8 UPS indicated that “such services improved the real property of

[Limetree Bay Refining].” 9 In the Limetree Bay Refining Bankruptcy, Defendant UPS is listed

among the creditors that have the largest claims and are not insiders (Official Form 204) and is

noted to have an unsecured claim of $24,423,282.42 related to work that is performed at or for the

Refinery. 10

        73.    Defendant Excel Construction and Maintenance VI, Inc. (“Excel”) is an industrial

contractor incorporated and headquartered in the United States Virgin Islands. Defendant Excel

performed certain work refitting the Refinery prior to its restart in February 2021. Specifically,

Excel entered into a $240 million 24-month contract for work relating to the “restoration and

restart” of the Limetree Bay Terminal. 11 The project consisted of two phases. The first phase

established an “API-653 Tank Inspection Program, which set forth the requirements to inspect the

assigned and report discoveries.” 12 The reports were to identify “all the repairs to restore the


8
  Statement in Support of Proof of Claim of Universal Plant Services (VI), LLC, In re: Limetree
Bay Services, LLC, et al., No. 21-32351, ECF No. 1404-10 (Bankr. S.D. Tex. May 16, 2022).
9
  Id.
10
   See Chapter 11 Voluntary Petition, In re: Limetree Bay Services, LLC, et al., No. 21-32351,
ECF No. 1 (Bankr. S.D. Tex. July 12, 2021) (“Chapter 11 Petition”).
11
      Excel USA, Limetree Bay Terminal Restoration and Restart, available at
https://www.excelusa.com/projects/limetree-bay-terminal-restoration-and-restart (last accessed
Sept. 21, 2023); see also Notice of Maintenance of Lien Pursuant to Section 546(B) of the
Bankruptcy Code, In re: Limetree Bay Services, LLC, et al., No. 21-32351, ECF No. 310 (Bankr.
S.D. Tex. Aug. 5, 2021) (“Excel is a contractor to Debtor providing labor and materials
incorporated into the work done by Debtor and the Property on a project generally known as the
Limetree Refinery Restart Project . . . .”).
12
   Id.
                                                25
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storage tanks to operational services” and establish subsequent inspection intervals. In phase two,

Excel purportedly developed the “repair execution strategy” and “performed the construction work

to recondition the[] tanks.” 13 In the Limetree Bay Refining Bankruptcy proceeding, Excel is listed

among the creditors who have the 30 largest claims and are not insiders (Official Form 204) and

is noted to have an unsecured claim of $22,325,200.82 related to work that it performed at or for

the Refinery. 14

        74.        Defendant Elite Turnaround Specialists, Ltd. (“ETS”) is a Texas limited

partnership. Defendant ETS’s sole general partner is Stronghold Specialty General, LLC, a Texas

limited liability company. Defendant ETS is a part of the Stronghold Companies (“Stronghold”),

which “work together to provide refining, petrochemical, and tank services.” 15 ETS provides

“complete turnaround and fabrication services.” 16 ETS performed certain work refitting the

Refinery prior to its restart in February 2021. In the Limetree Bay Refining Bankruptcy

proceeding, ETS is listed among the creditors who have the 30 largest claims and are not insiders

(Official Form 204) and is noted to have an unsecured claim of $15,330,475.03 related to work

that it performed at or for the Refinery. 17

        75.        Defendant Pinnacle Services LLC (“Pinnacle”) is a United States Virgin Islands

limited liability company with its headquarters located in the United States Virgin Islands. The

company was formed in 2002 to specifically “provide a comprehensive set of services to the



13
   Id.
14
   See Chapter 11 Petition.
15
       Stronghold   Companies,   available      at   https://www.thestrongholdcompanies.com/
about-us/companies/ (last accessed Sept. 21, 2023); About Stronghold Companies,
https://www.thestrongholdcompanies.com/about-us/ (last accessed Sept. 21, 2023).
16
       About Elite Turnaround Specialists, https://www.thestrongholdcompanies.com/
about-us/companies/companies-ets-efl/ (last accessed Sept. 21, 2023).
17
   See Chapter 11 Petition.
                                                 26
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HOVENSA refinery, now owned and operated by Limetree Bay Terminals, LLC, and its sub-

contractors under a shared services delivery model which utilizes the simple concept of

centralizing commonly used, non-core services and providing them from a third party.” 18 Starting

in 2016, Pinnacle “supported Limetree Bay Energy in the restart of the 32 million barrel terminal

and the 200,000 barrel per day refinery.” 19 In the course of its work on this project, Pinnacle “filled

over 350 management, supervision and craft positions during the engineering, procurement,

construction and commissioning” of the restart project, and thus was responsible for a significant

portion of the hiring at the Refinery. 20 In the Limetree Bay Refining Bankruptcy proceeding,

Pinnacle is listed among the creditors who have the 30 largest claims and are not insiders (Official

Form 204) and is noted to have an unsecured claim of $2,986,320.12 related to work that it

performed at or for the Refinery. 21

       76.     Defendant Versa Integrity Group, Inc. (“Versa”) is a Delaware corporation with its

headquarters located in Louisiana. Defendant Versa provides industrial services consisting of

inspection, advanced non-destructive testing, asset integrity, heat treatment and rope access. 22

Defendant Versa performed certain work at the Refinery prior to its restart in February 2021. In

the Limetree Bay Refining Bankruptcy proceeding, Versa is listed among the creditors who have

the 30 largest claims and are not insiders (Official Form 204) and is noted to have an unsecured

claim of $4,196,472.15 related to work that it performed at or for the Refinery. 23




18
    Pinnacle Services Company Overview, https://pinnaclevi.com/company/about-our-company/
(last accessed Sept. 21, 2023).
19
   Id.
20
   Id.
21
   See Chapter 11 Petition.
22
   Versa Services, https://www.versaintegrity.com/services/ (last accessed Feb. 2, 2022).
23
   See Chapter 11 Petition.
                                                  27
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        77.    Defendant National Industrial Services, LLC (“NIS”) is a United States Virgin

Islands limited liability company with its headquarters located in the United States Virgin Islands.

Defendant NIS is a construction company that focuses on building and improving industrial

facilities. Defendant NIS performed work prior to and in connection with the Refinery’s restart in

February 2021. In the Limetree Bay Refining Bankruptcy proceeding, NIS is listed among the

creditors who have the 30 largest claims and are not insiders (Official Form 204) and is noted to

have an unsecured claim of $12,052,033.76 related to work that it performed at or for the

Refinery. 24

        78.    Defendants UPS, Excel, ETS, Pinnacle, Versa and NIS are collectively referenced

in this Complaint as “Contractor Defendants.”

IV.     FACTUAL ALLEGATIONS

        A.     Refineries

        79.    Refineries “separate crude oil into a wide array of petroleum products through a

series of physical and chemical separation techniques. These techniques include fractionation,

cracking, hydrotreating, combination/blending processes, and manufacturing and transport.” 25

        80.    According to the EPA, “[r]efineries in general emit a whole host of pollutants,

ranging from nitrous oxides (“NOX”), sulfur dioxide (“SO2”), and carbon monoxide (“CO”) to

volatile organic compounds (“VOC”), hydrogen sulfide (“H2S”), and particulate matter

“(PM”).” 26 Additionally, the EPA has stated that “[e]missions … may include carbon particles

(soot), unburned hydrocarbons, CO, partially burned and altered hydrocarbons, NOX and, if sulfur



24
   See id.
25
   In the matter of Limetree Bay Terminals, LLC and Limetree Bay Refining, LLC, Clean Air Act
Emergency Order, CAA-02-2021-1003 (EPA, Region 2) (May 14, 2021) (“In re Limetree”).
26
   Id. at ¶ 19.
                                                28
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containing material such as hydrogen sulfide is flared, SO2.” 27 The EPA regulates these pollutants

to prevent the emission of toxic levels of these pollutants into nearby communities.

          B.        The Limetree Bay Refinery

          81.       Prior to the Private Equity Defendants’ purchase and reopening of the Facility, it

was called HOVENSA 28 and was one of the world’s largest oil refineries.

          82.       According to the EPA, “[t]he HOVENSA facility … is located at Limetree Bay, St.

Croix, U.S. Virgin Islands. It is a petroleum refinery covering 1,500 acres in what is known as

South Industrial Complex, on the south-central coast of St. Croix. Operations at the facility began

in 1965 under Hess Oil Virgin Islands Corporation (“HOVIC”). On October 30, 1998, Amerada

Hess Corporation, the parent company of HOVIC, and Petroleos de Venezuela, S.A. (PDVSA)

formed a joint venture named HOVENSA LLC, which acquired ownership and operational control

of the HOVIC facility. The facility’s maximum design capacity was 545,000 barrels (1 barrel = 42

gallons) of crude oil per day. Over 60 different types of crude oil were processed at the facility.

By means of distillation and other refining processes, crude oil is separated into various

components. Light ends (fuel gas) are sent to the facility’s fuel system; naphtha, jet fuel, kerosene

and No. 2 oil are further processed to remove sulfur.” 29

          83.       During its operation, HOVENSA subjected St. Croix and its residents to

environmental disasters, giving rise to multiple violations of the Clean Air Act and releasing

approximately as much petroleum into St. Croix’s groundwater as four times that of the 1989




27
     Id. at ¶ 23.
28
              https://www.epa.gov/hwcorrectiveactionsites/hazardous-waste-cleanup-hovensa-llc-
christiansted-us-virgin-islands (last accessed Sept. 21, 2023).
29
   Id.
                                                    29
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Exxon Valdez spill. 30 In part because of this contamination, residents of St. Croix have come to

rely on private cisterns as a primary source of safe, potable water, a fact of which Defendants were

at all times aware. Thus, Defendants understood that if the Limetree Bay Facility was responsible

for any further events that impacted cisterns on the island, this would effectively take away the

residents’ primary access to safe, potable water on St. Croix.

       84.      On January 26, 2011, the EPA, along with the U.S. Department of Justice (“DOJ”),

announced that HOVENSA had agreed to pay a civil penalty of $5.375 million and spend more

than $700 million in new pollution controls to resolve Clean Air Act violations by HOVENSA at

the refinery, and prevent future Clean Air Act violations, pursuant to a consent decree (the

“Consent Decree”). 31 The pollution controls required by the Consent Decree included:

       •     Compliance with SO2 standards of Subpart J for all combustion devices burning
             refinery fuel gas, and with Subparts J and Ja for refinery flares;

       •     Compliance with SO2 standards of Subpart J or Ja at sulfur recovery processes,
             including the sulfur pit;

       •     Comply with NSPS Subpart A, General Provisions, 40 C.F.R. § 60.11 (d), by
             conducting root cause analyses for all flaring events exceeding 500 lb/day of
             SO2; and

       •     Installation of flare gas recovery systems.

The Consent Decree further required that the refinery comply with a Coker Steam Vent

depressurization standard of 2 pounds per square in gauge (psig).

       85.      The EPA acknowledged at the time that “[h]igh concentrations of SO2 and NOX,

two key pollutants emitted from refineries, can have adverse impacts on human health, and are


30
       https://www.justice.gov/opa/pr/nation-s-second-largest-refinery-pay-700-million-upgrade-
pollution-controls-us-virgin-islands (last accessed Sept. 21, 2023); https://stcroixsource.com/
2008/03/11/hovensa-cleanup-comes-42-million-gallons-so-far/ (last accessed Sept. 21, 2023).
31
       https://www.justice.gov/opa/pr/nation-s-second-largest-refinery-pay-700-million-upgrade-
pollution-controls-us-virgin-islands (last accessed Sept. 21, 2023).
                                                  30
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significant contributors to acid rain, smog, and haze” 32 and estimated that, once the pollution

controls required by the Consent Decree had been installed and implemented, NOX, SO2, VOCs,

PM, and H2S emissions would be significantly reduced in compliance with applicable law.

       86.     Rather than invest the $700 million needed to implement these pollution controls,

HOVENSA shut down its refinery operations in 2012.

       87.     Three years later, HOVENSA’s owners declared bankruptcy (“HOVENSA

bankruptcy”). 33 Accordingly, the pollution controls required by the Consent Decree, as well as

other necessary refurbishment of the Facility, were never undertaken, much less, completed.

       C.      The Private Equity Defendants’ Takeover and Catastrophic Restart of the
               Refinery

       88.     In or around January 2016, Defendants ArcLight and Freepoint, through Limetree

Bay Holdings, purchased the Limetree Bay Facility in the HOVENSA bankruptcy. 34 The Private

Equity Defendants entirely funded this purchase. Indeed, at the same time that Limetree Bay

Holdings entered into the Initial Purchase Agreement with HOVENSA, Limetree Bay Holdings

simultaneously “delivered to Seller . . . an executed Equity Commitment Letter from ArcLight

Energy Partners Fund, VI, L.P. (the ‘Equity Financing Source’) to provide equity financing to

Purchaser in an amount sufficient to complete the transactions contemplated by th[e] [Purchase]

Agreement.” 35 All notices sent pursuant to the Agreement were addressed to Limetree Bay



32
   https://www.epa.gov/archive/epapages/newsroom_archive/newsreleases/2e321f78933fa2e6852
57824005812cd.html (last accessed Sept. 21, 2023).
33
       https://www.reuters.com/article/bankruptcy-hovensa/hovensa-faces-bankruptcy-owes-1-86-
billion-to-owners-idUSL1N11N20A20150917 (last accessed Sept. 21, 2023).
34
   Upon information and belief, ArcLight and Freepoint held a majority equity interest in Limetree
Bay Ventures and Limetree Bay Holdings, the holding companies of Limetree Bay Refining and
Limetree Bay Terminals, during the relevant time period giving rise to this Complaint.
35
    Order Approving the Sale of the Debtor’s Assets, ECF No. 394, In re: Hovensa, L.L.C.,¸No.
1:15-bk-10003-MFW (Bankr. D.V.I. Dec. 1, 2015).
                                               31
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Holdings through the care of ArcLight Capital Partners, LLC. 36 After the acquisition of the Facility

from HOVENSA, Dan Revers, the Managing Partner and co-Founder of ArcLight Capital, stated

that “[c]losing on the St. Croix Facility represents the culmination of an innovative and complex

transaction executed by ArcLight in conjunction with its partner Freepoint.” 37 Approximately, two

years later, in or around November 2018, Limetree Bay Ventures secured financing to restart

refinery operations, which included $550 million of preferred equity led by EIG-managed funds

and accounts. Revers indicated that “[t]he closing of the financing provides the resources necessary

to complete the refinery restart.” 38

           89.   ArcLight, Freepoint, and EIG dominate their industries. ArcLight describes itself

as a “leading middle market, value added, infrastructure investment firm focused on sustainable

infrastructure,” 39 and with nearly $10 billion in assets under management, ArcLight is a power

player in that niche space. Freepoint, too, wields tremendous influence in the industry “by

leveraging [its] relationships, breadth of expertise, and responsiveness” and “[u]sing [its]

intellectual capital and unique marketing platform to ‘connect the dots’ on an opportunity [to]

acquire the highest production value asset and execute premium market deals tailored to [relevant]

risk/return profiles.” 40 EIG, which at the time had “committed over $29.1 billion to 341 portfolio

investments in 36 countries,” is likewise a power player and “has been one of the leading providers

of institutional capital to the global energy industry, providing financing solutions across the



36
     Id.
37
                https://www.prnewswire.com/news-releases/arclight-capital-partners-and-freepoint-
commodities-close-acquisition-of-st-croix-refinery-assets-from-hovensa-300201346.html (last
accessed Sept. 21, 2023) (emphasis added).
38
            https://www.prnewswire.com/news-releases/limetree-bay-ventures-closes-1-25-billion-
financing-to-restart-its-refinery-in-st-croix-300758220.html (last accessed Sept. 21, 2023).
39
   https://arclight.com/about/ (last accessed Sept. 21, 2023).
40
   https://www.freepoint.com/what-we-do/ (last accessed Sept. 21, 2023).
                                                32
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balance sheet for companies and projects in the oil and gas, midstream, infrastructure, power and

renewables sectors globally” since 1982. 41 “To provide context on EIG’s scale, in April [2021] the

company signed a $12.4 billion infrastructure deal with Aramco.”

       90.     Neither ArcLight Capital nor Freepoint nor EIG is a passive investor. Each typically

operates or otherwise critically, affirmatively, and integrally supports the infrastructure in which

it invests. Indeed, ArcLight Capital touts its “over two decades of experience owning and

operating infrastructure investments across the entire value chain, from the turbine to the wall

socket.” 42 Freepoint “strive[s] to be the long-term partner” in the projects it pursues and “actively

develops opportunities that disrupt . . . markets in a transitioning energy landscape.” 43 EIG explains

that its “investment approach . . . emphasizes capital preservation and the opportunity to

participate in the upside of projects” in which it invests, to which it brings “deep sector expertise

and internal technical capabilities [which] permit [it] to structure creative solutions for [its]

industry partners in complex situations.” 44

       91.     The Refinery was no different. Indeed, ArcLight Capital and Freepoint recognized

significant risks associated with the Refinery restart, and their direct liability if something were to

go wrong, such that they ensured that they were added as named insureds on certain policies in

Limetree Bay Refining’s pollution and liability insurance tower–an act indicative of a role far more

involved than a mere passive investor. ArcLight additionally served as the point of contact on other

policies in Limetree Bay Refining’s insurance tower.




41
            https://www.prnewswire.com/news-releases/limetree-bay-ventures-closes-1-25-billion-
financing-to-restart-its-refinery-in-st-croix-300758220.html (last accessed Sept. 21, 2023).
42
   https://arclight.com/about/ (last accessed Sept. 21, 2023) (emphasis added).
43
   https://www.freepoint.com/what-we-do/merchant-finance/ (last accessed Sept. 21, 2023).
44
   https://eigpartners.com/about-us/ (last accessed Sept. 21, 2023) (emphasis added).
                                                 33
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       92.      ArcLight Capital itself confirmed its role as a direct participant in the Refinery

restart. In ArcLight’s own words, ArcLight served as a “hands-on” owner and operator of the

Limetree Bay Facility. 45 After the acquisition of the Limetree Bay Facility, ArcLight proudly

announced its prominent role in the restart of the Refinery operations. Revers, the Managing

Partner and co-Founder of ArcLight Capital, indicated that ArcLight’s involvement in the

Refinery’s restart “. . . ma[de] full use of ArcLight’s suite of specialized capabilities including

financial structuring, construction management, implementation of operational best practices,

commodity management, human resources, and environmental management.” 46

       93.     As evidenced by the horrific restart of the Refinery, however, the Private Equity

Defendants’ use of their “specialized capabilities” served only to create an unprecedented disaster

generated by the implementation of the worst practices possible.

              i.   The Private Equity Defendants Set Their Sights on MARPOL Profits at the
                   Expense of St. Croix and its People

       94.      Upon their 2016 purchase of the Limetree Bay Facility, ArcLight and Freepoint

engaged only the Facility’s terminal operations, not the Refinery. Oil terminals, like the Facility’s

terminal, are essentially storage units, and their operation requires far less expertise, regulatory

compliance, and capital to adequately and safely run the Facility.

       95.      It was not until 2018, at the time EIG led the $550 million fundraise for Limetree,

that the Private Equity Defendants focused their full attention on restarting the Refinery operations,

and they did so for a specific reason: the United Nations’ International Maritime Organization




45
  https://arclight.com/about/ (last accessed Jan. 5, 2023).
46
     https://www.limetreebayenergy.com/limetree-bay-ventures-closes-1-25-billion-financing-to-
restart-its-refinery-in-st-croix/ (last accessed Jan. 5, 2023).
                                                 34
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(“MARPOL”) had mandated a cap of 0.5% sulfur in ship fuels used worldwide, effective January

2020.

        96.    The new MARPOL rule presented a tremendous money-making opportunity to the

Private Equity Defendants. Because of the Refinery’s location and size, the Private Equity

Defendants believed that they could enjoy early entry into an emerging fuel market and capture

the “highest profit in the initial years of the new sulfur cap,” provided the Refinery could begin

production as soon as possible. 47

        97.    The Private Equity Defendants recognized that, to capture this new market, they

needed to act quickly. In correspondence with the EPA, ArcLight acknowledged that “Limetree

believe[d] it has a short window to begin producing the new [MARPOL] compliant marine fuel

and capture the market in South America.” Jake Erhard, one of ArcLight’s founding partners,

confirmed this urgency in testimony before the U.S.V.I. legislature, noting that “[t]his MARPOL

opportunity is critical to the underwriting of capital investment for the refinery restart, making it

very important that we work to bring the refinery back online by the end of 2019.” 48

        98.    There were, however, several obstacles standing between the Private Equity

Defendants and the enormous profits they expected to reap because of the MARPOL sulfur cap.

Most relevant here, the Refinery had been idled since 2012, had received significant damage from

two Category Five hurricanes, and was still in need of the $700 million in pollution controls and

other refurbishments that the EPA ordered HOVENSA to implement by way of the Consent

Decree, but that HOVENSA never completed.


47
      https://stthomassource.com/content/2019/09/26/company-limetree-bay-on-schedule-to-start-
refining/ (last accessed Sept. 21, 2023).
48
     https://viconsortium.com/VIC/?p=65372 (last accessed Sept. 21, 2023); see also
https://stthomassource.com/content/2019/09/26/company-limetree-bay-on-schedule-to-start-
refining/ (last accessed Sept. 21, 2023).
                                                35
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       99.       Rather than take the time to implement the $700 million controls themselves

(which would have delayed the production of MARPOL-compliant fuel), the Private Equity

Defendants wielded their power and influence to sidestep those requirements, through a series of

misrepresentations to the U.S. Virgin Islands’ government and by pulling political strings at the

U.S. EPA.

              ii.      The Private Equity Defendants’ Won the U.S. Virgin Islands’ Approval with
                       False Promises of Economic Growth and Environmental Stewardship

       100.     In pursuit of the MARPOL project, the Private Equity Defendants first needed to

persuade the U.S. Virgin Islands’ government to back the Refinery restart. On July 2, 2018,

Governor Kenneth Mapp announced an agreement (the “Amended Operating Agreement”)

between the Government of the Virgin Islands and ArcLight to expand the Facility’s operations

and reopen the Refinery. 49

       101.         Per the terms of this agreement, ArcLight and Freepoint were listed as the owners

of the Refinery:




       102.      In lobbying for approval from the Virgin Islands Government, ArcLight most likely

touted its professed commitment to environmental stewardship, which ArcLight has repeatedly,

and vociferously, publicized. ArcLight reports that it operates in accordance with “ESG



49
           https://siteselection.com/theEnergyReport/2018/jul/oil-and-gas-refinery-restart-awaits-
legislative-approval-in-the-us-virgin-islands.cfm, (last accessed Sept. 21, 2023).
                                                   36
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[environmental, social, and governance] investment guidelines for ESG issues,” in addition to a

formal “ESG policy,” which it established in 2011 and 2016, respectively. 50 ArcLight formed a

“cross-functional ESG committee” to spearhead its purported commitment to environmental

concerns. 51 Jake Erhard, a partner and founding member of ArcLight, chairs the committee, which

according to ArcLight, “enables integration of ESG at the highest levels of [the] firm.” 52

       103.    According to Erhard, ArcLight’s “integrated approach to ESG underpins two

strategic goals for ArcLight: safe, reliable, environmentally conscious stewardship, and proactive

capital allocation to the energy transition.” 53 Erhard has promised, “[w]e believe our commitment

to deliver on those goals positions us to source, execute, finance, and enhance differentiated

investment opportunities in ways that benefit all of our stakeholders together with the broader

communities in which we operate.” 54 In short, ArcLight claims “[a]fter two decades of owning

and operating infrastructure investments, we appreciate the need for responsible and transparent

stewardship that integrates the principles of sustainability, equity, and inclusion.” 55 Mr. Erhard

directly led negotiations of the Amended Operating Agreement and joined the government at press

conferences and in other outlets promoting the deal. 56

       104.    In addition to its (now empty) promises to take care of St. Croix and its people,

ArcLight also promised that the Refinery’s return would be a boom to St. Croix’s economy. In a

press release announcing the deal, Governor Mapp announced that “during the legislative process



50
   https://arclight.com/esg/, (last accessed Sep. 21, 2023).
51
    Id.
52
    Id.
53
    Id.
54
    Id. (emphasis added).
55
    Id.
56
          https://www.vi.gov/u-s-virgin-islands-governor-announces-1-4-billion-landmark-deal-to-
restart-refinery-in-st-croix/ (last accessed Sep. 21, 2023).
                                                37
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[to approve the Amended Operating Agreement] ArcLight will detail its strategy and its schedule

to employ more than 1,200 workers during the accelerated construction period,” and that, if the

Refinery were restarted, the Facility would bring “$775 million in revenues to the government

over the next 10 years … in addition to the massive economic benefits that will be conferred upon

the Territory in general, and St. Croix in particular, by the infusion of $1.4 billion in direct capital

investment and the creation of as many as 700 new full-time permanent jobs.” 57

           105.   ArcLight succeeded in persuading Governor Mapp that the Refinery’s restart would

be safe and economically beneficial to St. Croix.

           106.   Governor Mapp held a press conference with ArcLight and Limetree officials

announcing the proposed deal, calling the U.S. Virgin Islands legislature into special session on

July 25, 2018 to consider and ratify the agreement. Governor Mapp underscored ArcLight’s

extensive and long-standing involvement in the Refinery’s restart, telling the legislature:

           This landmark agreement did not happen overnight. It is the result of much hard
           work by the owners of ArcLight Capital and my Administration over the past
           two years. It is the product of complex negotiations with major players in the global
           oil industry. It required tremendous teamwork with the Trump Administration and
           the President’s Council of Environmental Quality, the EPA and the U.S.
           Department of Justice. 58

           107.   Governor Mapp was right that the Refinery restart required complex negotiations

with the Trump Administration and federal agencies, and that ArcLight Capital was critical to that

effort, as further detailed herein. But on July 25, 2018, ArcLight’s focus was winning over the

U.S. Virgin Island’s legislature, and ArcLight partner Jack Erhard answered questions, offered




57
     Id.
58
           https://siteselection.com/theEnergyReport/2018/jul/oil-and-gas-refinery-restart-awaits-
legislative-approval-in-the-us-virgin-islands.cfm (last accessed Sept. 21, 2023) (emphasis added).
                                                   38
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testimony, and otherwise came out in full force at the legislative session in furtherance of that

objective.

        108.    In response to constituent concerns that the Refinery restart would wreak similar,

or worse, environmental and economic harm than that by HOVENSA, Erhard promised that

Limetree would be different. For one, he suggested that Limetree’s management would be better

equipped to avoid such disasters, testifying that “I think a lot has changed from the HOVENSA

mode of operation to our plan of operation” and explaining that HOVENSA, as a Venezuela-Hess

joint venture, created management challenges that made it difficult to make the facility more fuel

efficient, or make it more efficient generally. 59

        109.    ArcLight and Limetree Bay Terminals officials further represented to the Virgin

Islands Government and its constituents that the $700 million in pollution controls required by the

HOVENSA Consent Decree would not be required before the Refinery was restarted, because the

Private Equity Defendants were not seeking a “full restart,” and were instead planning to restart

only some of the Refinery units. Those officials suggested that the refurbishments needed for the

restart were much more limited, and that the Private Equity Defendants were financing all needed

modifications. Based on these and other representations by ArcLight, the Virgin Islands legislature

ratified the Amended Operating Agreement.

        110.    In truth, however, ArcLight did not refurbish the mothballed Refinery in

accordance with the HOVENSA Consent Decree and industry standards. Instead, ArcLight milked

its close connections to the Trump Administration to get out from under the Consent Decree

obligations, as further detailed herein.



59
   https://stthomassource.com/content/2018/07/21/un-sulfur-regs-may-briefly-boost-stx-refinery-
profitability/ (last accessed Sept. 21, 2023).
                                                     39
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              iii.   The Private Equity Defendants Lobby the Federal Government for Special
                     Treatment of the Refinery and Exemption from the HOVENSA Consent
                     Decree

       111.      To affect their end run of industry standards and regulatory obligations, the

Limetree and Private Equity Defendants looked to ArcLight to cash in on political capital with the

Trump Administration, which ArcLight promptly deployed to procure exemptions for, and other

special treatment of, the Refinery.

       112.      ArcLight developed its close ties to the Trump Administration in large part through

its managing partner, Dan Revers, a long-time political donor. So close was Mr. Revers’s

relationship with President Trump that, in November 2017, he was one of only 29 businesspeople

invited by President Trump to accompany him on an official visit to China, a select group that

included Lloyd Blankfein, CEO of Goldman Sachs, Steve Mollenkopf, CEO of Qualcomm, and

industry heads from Boeing and General Electric. 60

       113.      ArcLight’s relationship with the Trump Administration played out away from the

public eye, too, and appeared certain to return dividends to the Limetree and Private Equity

Defendants. Shortly after Revers accompanied President Trump on the trade mission to China, in

December 2017, Evan Schwartz, a Principal at ArcLight Capital, along with LeAnn Johnson Koch

and Chris Colman, attorneys at Perkins Coie providing outside counsel to Limetree, met with Bill

Wehrum, the deputy head of EPA’s air division, to discuss “working with EPA on [an] important

project for the Virgin Islands.” 61 That “important project” was the Refinery restart, and ArcLight

was seeking the EPA’s assistance in side-stepping the Consent Decree and other regulatory



60
   See, e.g., https://www.cnbc.com/2017/11/02/here-are-the-corporate-dealmakers-joining-trump-
in-china.html (last accessed Sept. 21, 2023).
61
     See https://www.eenews.net/articles/trump-admin-provides-customer-service-to-troubled-
refinery/ (last accessed Sept. 21, 2023).
                                                 40
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obligations, and in quickly approving various permits required for the Refinery restart, in order to

complete the restart before the new MARPOL standard took effect.

       114.    ArcLight quickly succeeded in escalating these issues to the attention of Andrew

Wheeler, Acting Administrator of the EPA, who, according to internal EPA documents, directed

more than 30 of the EPA’s top personnel to serve on the “Limetree Bay team” and provide them

with “anything they need.” Wheeler deputized Robert Tomiak, Director of the Office of Federal

Activities, to serve as the “primary point of contact for Limetree in helping connect them with the

federal programs and offices they must involve to resume operations.” EPA personnel were

instructed “to fully cooperate with Rob in these efforts.” Patrick Taylor, the EPA’s deputy

enforcement chief, recalled the priority, and the urgency, that Wheeler attached to the Refinery

restart, noting “Andrew [Wheeler] made the restart an important part of [the assistant

administrators’] meeting. He asked all of us with a piece of the work to do it quickly and correctly,

and to let him know personally of any fatal flaws that might appear.”

       115.    Heeding this directive from the EPA’s top official, Tomiak quickly assembled

“contacts within ArcLight specific to this project” and sought to “establish contact with ArcLight

and seek alignment on perceptions of what is needed from us (and others).” Upon establishing

that contact, Tomiak reported that he “communicated that I’ll serve as their front door and

switchboard operator for anything they need.” Tomiak further organized bi-weekly meetings for

the purpose of summarizing the status of the restart for Acting Administrator Wheeler.

       116.    ArcLight’s treatment by the EPA was not normal. “‘It’s inappropriate,’ said Judith

Enck, who oversaw the [R]efinery as a regional administrator in the Obama-era EPA. ‘[ArcLight]




                                                41
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should not be considered a customer. EPA is supposed to be the regulator.’” 62 But that did not stop

ArcLight from leveraging its close ties with the Trump Administration, and its preferential

treatment by the EPA, to rush the Refinery restart and negligently resume its operations.

        117.    In particular, the Limetree and Private Equity Defendants relied on ArcLight to

secure the EPA’s assistance to address concerns that (1) the HOVENSA consent decree would

apply to the Refinery; and (2) certain of the EPA’s policies, further detailed herein, would thwart

the Refinery’s restart, if they were to apply.

        118.    First, ArcLight (along with Limetree Bay Terminals) called on the EPA for help in

unraveling the Consent Decree obligations, which were binding on the Refinery as a result of the

Private Equity Defendants’ purchase of the Refinery in the HOVENSA bankruptcy. The Consent

Decree appears to have been discussed at the November 2017 meeting between Bill Wehrum, the

deputy head of EPA’s air division, Evan Schwartz, a principal at ArcLight Capital, and LeAnn

Johnson Koch and Chris Colman, outside counsel to Limetree. Writing to the EPA in advance of

that meeting, Ms. Koch underscored that “Consent Decree modification is the quickest vehicle to

clarify and address the[] issues” hindering the Refinery restart and warned that the failure to

quickly resolve those issues “would both substantially delay the project, jeopardizing the window

for the business opportunity,” to capitalize on the new MARPOL rule, and “change the economic

viability of the project.”

        119.    In May 2018, ArcLight (in conjunction with Limetree Bay Terminals) submitted to

the EPA’s Office of Air and Radiation twenty-seven proposed modifications to the Consent

Decree. In internal documents tracking the modifications, the EPA noted the unusual nature of the



62
   https://www.eenews.net/articles/trump-admin-provides-customer-service-to-troubled-refinery/,
(last accessed Sept. 21, 2023).
                                                 42
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modification requests, acknowledging that ArcLight and Limetree Bay Terminals submitted the

requests to the Office of Air and Radiation, in EPA headquarters, “even though the [Consent

Decree] modification negotiations are an enforcement matter under the purview of the EPA’s

Office of Enforcement and Compliance and the DOJ,” and “even though the DOJ had contacted

[ArcLight’s and/or Limetree Bay Terminals’] attorney to resume [Consent Decree] modification

negotiations.” But ArcLight apparently did not have the same relationship with the DOJ as it did

the EPA, so it re-routed the negotiations to the EPA Limetree Bay team.

       120.   Second, in tandem with the Consent Decree modification requests, ArcLight and

Limetree Bay Terminals sought to sidestep EPA regulatory requirements by way of special

exemptions from EPA permitting processes and policies.

       121.   When the Limetree and Private Equity Defendants first purchased the Facility

through the HOVENSA bankruptcy, they leveraged their power and influence on officials to

convince them to allow Limetree Bay Terminals to be grandfathered into the previous HOVENSA

permits, including HOVENSA’s Title V Air Permits previously issued by the EPA and the Virgin

Islands Department of Planning and Natural Resources (“DPNR”). In May 2016, at the behest of

the Limetree and Private Equity Defendants, DPNR transferred the HOVENSA Title V Permit to

Limetree Bay Terminals, 63 and thereby avoided a re-permitting process that those Defendants

knew would have revealed serious deficiencies in the Facility.

       122.   Then, when the Limetree and Private Equity Defendants focused their attention on

the Refinery restart in or around 2018, those Defendants once again leveraged their power to



63
   In July 2019, Limetree Bay Terminals and Limetree Bay Refining each entered into separate
“operating agreements” with the Virgin Islands’ government in which Terminals and Refining
became co-permittees under the Title V Permit. As co-permittees, each entity was responsible for
the entirety of the Limetree Bay Facility, including the Refinery.
                                               43
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demand that the Refinery restart be “given top priority” and “concluded as quickly as possible.”

The EPA yielded to Limetree and ArcLight’s demands and designated the Limetree project as a

“priority file.” The Limetree and Private Equity Defendants took advantage of, and abused, the

EPA’s “priority file” designation, along with the 30-person “Limetree Bay” team and other

valuable resources that the EPA devoted to the Refinery restart, and made unreasonable and

reckless requests to minimize permitting review of the Refinery.

       123.    To start, ArcLight, along with Limetree Bay Terminals, lobbied the EPA to not

treat the Refinery’s decades-long idled units as new stationary sources and to not aggregate the

emissions from the MARPOL project with another “Renewable Diesel” Project at the Facility. In

doing so, the Limetree and Private Equity Defendants sought a work around for EPA policies that

would have delayed the Refinery restart and made the project economically unworkable. On April

5, 2018, the EPA, in an unprecedented move, capitulated to Limetree and the Private Equity

Defendants’ demands and almost immediately granted their requests, allowing the Refinery to

avoid significant environmental regulations and review.

       124.    After securing these important concessions from the EPA, the Limetree and Private

Equity Defendants sought more. On November 27, 2018, the Limetree and the Private Equity

Defendants submitted an application that was over 300 pages for seven plantwide applicability

limit permits (“PAL Permits”). They then demanded that the EPA issue these permits by June 30,

2019—five months less than the Clean Air Act’s one year review period and, in the EPA’s own

words, “an unreasonably short time frame for [its] review of the more than 300 page application.”

At the incessant pressure of the Limetree and Private Equity Defendants, the EPA again capitulated

to these demands and rushed through the PAL Permits without meaningful review.




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        125.    Yet again, in December 2020, the Limetree and Private Equity Defendants sought

to side-step all safe environmental management of the Refinery by refusing to install air

monitoring equipment that the EPA required as a condition for an additional PAL Permit for the

Refinery. Instead of following safe environmental practices, Defendants appealed the EPA’s

requirements and, upon information and belief, never installed the equipment on which issuance

of the PAL permit was conditioned.

        126.    In short, from their takeover of the Facility in 2016, and their race to restart its

Refinery operations before the new MARPOL rule took effect, the Limetree and Private Equity

Defendants, and ArcLight in particular, devoted every effort to dodging their regulatory

obligations and industry best practices, rather than properly refurbishing the Refinery and

installing necessary pollution controls in accordance with the HOVENSA Consent Decree, the

Clean Air Act and other applicable law.

        127.    Upon information and belief, if the Limetree and Private Equity Defendants had

not recklessly ignored safe environmental management of the Refinery and had not demanded

these unprecedented exceptions to the normal processes and policies for a project of this

magnitude, the disastrous problems with the Refinery would have been identified and avoided

prior to its restart. Instead, the Limetree and Private Equity Defendants’ relentless objective to

avoid as much environmental regulation as possible led to the catastrophic harm caused by the

failed restart of the Refinery.

        D.      The Doomed Restart of the Limetree Bay Refinery

        128.    At some point in 2018, after learning of the new MARPOL rule that presented a

tremendous money-making opportunity to the Private Equity Defendants, the Limetree Defendants

began maintenance and repair work on the Refinery with the help of the Contractor Defendants.


                                                45
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In addition to sitting idle for nearly a decade, the Refinery had also experienced severe damage

from Category Five Hurricanes Maria and Irma. Defendants knew that these problems meant that

the Refinery was in a deplorable condition that would require extensive repairs for it to function

safely and properly. To be sure, LeAnn Johnson Koch, outside counsel acting on behalf of the

Limetree Defendants and ArcLight, acknowledged the extensive damage to the Refinery caused

by Hurricanes Maria and Irma, in a November 2017 letter to the EPA.

       129.    But as the COVID-19 Pandemic brought significant delays and challenges, the

Refinery restart began to fall further behind schedule and began to go excessively over budget. At

the same time, the Defendants faced significant financial constraints in the Refinery restart because

the initial infusion of direct capital investment had gone almost exclusively to the restart of the

terminal operation. Despite knowing that the Refinery restart needed both more time and more

money, the Private Equity Defendants continuously pressured the Limetree Defendants to open

the Refinery. Further, at some point in the fall of 2020, Defendant BP Products engaged even more

pressure for a premature restart by threatening to pull out of its deal with the Refinery to supply

the Refinery’s crude and market its fuels. BP Products, despite knowing that the Refinery was not

in a safe condition to do so, leveraged this pressure knowing that the Refinery’s existence relied

solely on its supply and offtake agreements and knowing that its withdrawal would have been fatal

to the Refinery restart. BP Products’ importance to the Refinery cannot be overstated. When the

agreement was initially reached with BP Products in 2018, Government House issued a statement

indicating: “Limetree Bay Refining announced Friday that it has reached a ‘definitive agreement’

with British Petroleum to operate the refinery on St. Croix’s south shore.” 64


64
    https://stthomassource.com/content/2018/11/17/bp-signs-to-supply-arclight-refinery-no-word-
on-70-million-promised-on-closing/ (last accessed Sept. 21, 2023) (emphasis in original); see also
https://www.prnewswire.com/news-releases/limetree-bay-ventures-closes-1-25-billion-
                                                46
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        130.    Facing this significant mounting pressure from the Private Equity Defendants and

BP Products, the Limetree Defendants and Contractor Defendants knowingly pushed forward with

a hurried and substandard Refinery restart that did not adequately repair the deplorable condition

of the Refinery—all at the expense of the residents of St. Croix.

        131.    Through their varied work at and/or for the Refinery, the Limetree and Contractor

Defendants failed to repair the Refinery in any proper manner and caused the Refinery to fall into

a perilous and unsafe condition, ripe for the inevitable, but entirely preventable, Incidents that

immediately followed. Such work included, without limitation, negligent and reckless: (a)

mechanical, piping, and other work performed by Defendant ETS; (b) pumps, machinery, and

other work performed by Defendant UPS; (c) electrical, instrumentation, and other work

performed by Defendant Excel; (d) inspection and other work performed by Defendant Versa; (e)

hiring, staffing, and other work performed by Defendant Pinnacle; (f) construction and other work

performed by Defendant NIS; and (g) general oversight, supervision, quality check, maintenance

work, and sign-off on various aspects of the overall refitting project by the Contractor Defendants.

        132.    On February 1, 2021—three years after Defendants began the maintenance and

repair work on the Refinery that was significantly interrupted by COVID-19—the Refinery

restarted operations for the first time since its closure in 2012. Just three days later, the first of four

Incidents occurred at the Refinery, starting an unprecedented sequence of events that caused the

harm and damage alleged herein.




financing-to-restart-its-refinery-in-st-croix-300758220.html (last accessed Sept. 21, 2023)
(“Limetree Bay Ventures announced today that it has closed a $1.25 billion financing to restart its
refinery located at Limetree Bay, St. Croix, U.S. Virgin Islands. The company is undertaking the
project in conjunction with the tolling, supply and offtake agreements that it entered into with BP
Products North America earlier this month.”).
                                                   47
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          133.    The Refinery was obviously not properly refurbished and/or refitted to function in

a safe manner as Defendants proclaimed, in part because of the significant pressure from the

Private Equity Defendants and BP Products, and in part because of the negligent and reckless

manner in which the Refinery was owned, restarted, operated, and/or maintained, including,

without limitation, the negligent and reckless hiring, supervision, and oversight implemented by

Defendants, including the Contractor Defendants.

          E.      The Incidents Caused by the Limetree Bay Refinery

          134.    In addition to being non-compliant with EPA regulations and the HOVENSA

Consent Decree almost every day since December 15, 2020, four significant Incidents occurred on

February 4, 2021, in late April, 2021, on May 5, 2021, and on May 12, 2021—all of which caused

harm to the Plaintiffs and the members of the putative Class.

                  i.     Incident One

          135.    On February 4, 2021, only a few days after restarting the Refinery, Toxic Incident

One occurred when a flare at the Refinery caused the release of oil to rain down on over a hundred

homes, vegetation and cars in the adjacent neighborhood of Clifton Hill and beyond (the “February

4 Incident”). Residents noted a “mist of oil” emitting from the Refinery that coated their homes.

One media account described the flaring incident as having “spewed a plume of steam and fuel

residue into the air, covering more than 130 homes with specks of oil and contaminating the

drinking water of more than 60 residents.”

          136.    According to the EPA, “a mixture of oil and water, in the form of an oily mist, was

emitted as air emissions from Flare #8 at the Limetree Bay Facility.” 65 These emissions included

liquid droplets of oil and other toxins.


65
     In re Limetree at ¶ 34.
                                                  48
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       137.    Within hours, the Limetree Defendants began receiving calls from residents in the

nearby Clifton Hill community reporting the presence of oil on their vehicles and homes. Limetree

was certainly aware of the environmental impacts the February 4 Incident had on the surrounding

communities and residents, but a press release dated March 3, 2021 issued by Limetree

downplayed the incident to the public, stating as follows:

       St. Croix, U.S. Virgin Islands (March 3, 2021) – Last month, Limetree Bay
       experienced an upset in the refinery at Flare Unit #8. This incident resulted in a
       release of steam and oil which traveled northwest. The release occurred while
       Operations was quenching one of the Coke drums, and the quenching operation was
       stopped to end the release.

       Initial investigations did not reveal any impact beyond the refinery’s fence line.
       Once Limetree was made aware that there was impact to the community, our
       environmental teams were immediately dispatched to neighboring areas to assess
       that impact.

       After further investigation, Limetree’s environmental team was able to field verify
       the area impacted by the release, which was determined to be the Clifton Hill
       community. While the release did not present a health hazard to the public,
       Limetree determined that oil droplets were present on some vehicles and roofs in
       the area, and implemented a plan to clean those roofs and vehicles.

       Limetree executed its response plan and began cleaning cars immediately. The
       response plan included inspection and assessment of cars, roofs and properties, and
       assisting in disconnecting cisterns from roofs. In addition, Limetree retained a third
       party to sample cistern water for oil and grease, and this data is being analyzed in
       an EPA-certified lab in Florida (PACE Lab). To the residents whose cisterns were
       disconnected, Limetree provided drinking water on a daily basis, which was
       delivered to their door. Limetree also went door-to-door to all the residents in
       Clifton Hill and responded to all the complaints received. An area of impact was
       delineated on a map, and the plan for cisterns is to empty, clean and refill with
       potable water all cisterns whose lab results show a detection. Residents whose lab
       results show non-detect, will have their cisterns topped off with potable water.

       All applicable regulatory agencies were notified at the time of the incident, and
       Limetree continues to work with both local and federal agency partners to ensure
       the continued safety of its personnel, the public and environment. 66


66
  Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Response to Flare Incident” (Mar.
3, 2021), available at https://www.limetreebayenergy.com/limetree-bay-response-to-flare-
incident/ (last accessed January 17, 2023).
                                                49
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       138.    The Limetree Defendants confirmed that the Incident contaminated residents’

property. Immediately following the Incident, Limetree Bay Terminals and Refining employees

canvassed the Clifton Hill community, which involved employees inspecting over 200 properties

and sampling at least 160 residents’ cisterns. Limetree reported that as of March 16, 2021, of 135

cistern samples that had been tested, 70 were identified as contaminated. Limetree further paid for

various cleaning and decontamination work and provided bottled water to the community. As

reported to the EPA, 148 roofs and 245 cars required cleaning because of contamination from the

Incident.

       139.    The Limetree Defendants ultimately admitted to the severity of the February 4

Incident: “during an April 30, 2021, site visit to the Facility by staff from EPA…, Limetree

representatives said that Limetree believes that the release was a mist with heavy oil in it.” 67

       140.     The EPA indicated that the February 4 Incident could have been caused by the

Refinery’s “knockout drums” that were “not designed with sufficient capacity.” 68

       141.    The EPA specified that “[t]his type of event is not common for a refinery startup.”69

In other words, this type of event is an unprecedented, egregious deviation of refinery operational

norms all done under the control of the Private Equity Defendants, and through the actions of BP

Products, the Limetree Defendants and the Contractor Defendants.

       142.    As a result of the February 4 Incident, and as a result of the Defendants’ conduct,

the Plaintiffs and members of the putative Class suffered personal harm and harm to their property.

       143.    According to the EPA, “[i]n early April, the Refinery stopped operations for a

period of time due to undisclosed operational issues. [Limetree Bay Refining] stated in a letter to


67
   In re Limetree at ¶ 42.
68
   Id. at ¶ 44.
69
   Id. (emphasis added).
                                                 50
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the EPA that the ‘refinery is shut down while we make operational adjustments.’” 70 These

“operational adjustments” did not, however, resolve the Refinery’s issues.

       144.    Despite the extensive and severe contamination that resulted from the February 4

Incident, residents whose cisterns were impacted were not told of the contamination by the

Limetree Defendants for several weeks, and information concerning the extent of the

contamination was concealed from residents and the public.

       145.    For example, it took the Limetree Defendants two weeks to inform Plaintiff Cotton,

who lives just north of the Refinery, that his cistern water had been contaminated by the February

4 Incident. After finally providing Plaintiff Cotton with notice of the contamination, Defendants

then attempted to wrongfully induce Plaintiff Cotton (and other Class members) to sign a release

of claims that would pay him only $2,000 in exchange for waiving all his legal rights to hold

Defendants liable for any bodily harm or property damage relating to the February 4 Incident.

Plaintiff Cotton refused to sign the release form.

       146.    Any similar release forms that were obtained by the Defendants, including via its

claims administrator contractor Sedgwick Claims Management Services (“Sedgwick”), are legally

unenforceable for numerous reasons.

               ii.     Incident Two

       147.    In late April of 2021, Incident Two occurred. 71


70
  Id. at ¶ 45.
71
   During this time, the Limetree Defendants were undergoing significant personnel changes, as
reflected by the fact that on April 19, 2021, Limetree Bay Terminals issued a press release
announcing “that Neil Morgan has been named as Refinery General Manager, effective today. Mr.
Morgan succeeds Robert Weldzius, who joined Limetree Bay primarily to lend his deep refining
expertise during the Company’s early formation and through the restart process.” See Press
Release, Limetree Bay Terminals, LLC, “Limetree Bay Names Neil Morgan as Refinery General
Manager” (Apr. 19, 2021), available at https://www.limetreebayenergy.com/limetree-bay-names-
neil-morgan-as-refinery-general-manager/ (last accessed January 17, 2023).
                                                51
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        148.        Between April 19 and April 23, 2021, “Limetree reported … exceedances for the

162 parts per million (“ppm”) emission standard for H2S [hydrogen sulfide] concentrations … at

the facility.” 72

        149.        The EPA stated, “H2S is a flammable, colorless gas that smells like rotten eggs.

People can usually smell H2S at low concentrations in air when H2S concentrations are in the

range of from 0.0005 to 0.3 ppm. Exposure to low concentrations of H2S may cause irritation to

the eyes, nose, or throat. It may also cause difficulty in breathing for some asthmatics. Respiratory

distress or arrest has been observed in people exposed to very high concentrations of H2S.” 73

        150.        From April 19-22, 2021, “hydrogen sulfide concentrations measured at the Flare

#8 flare header rose to orders of magnitude above the limit of 162 ppm … High hydrogen sulfide

readings on each of those four days, measured between 5 AM on April 19 and 5 PM on April 22,

rose as high as 31,546.5, 39,475.7, 2,272.4, and 4,046.5 ppm, respectively[.]” 74

        151.        Additionally, “Limetree continued to measure high levels of hydrogen sulfide in

excess of the 162 ppm limit at the flare header for Flare #8 . . . during the evening of April 22 and

into April 23, 2021. Hydrogen sulfide readings rose throughout the evening on April 22, 2021 and

peaked at a three-hour average of 91,649.0 ppm around 11 AM on April 23—over 565 times higher

than the concentration limit of 162 ppm.” 75

        152.        In addition to the hydrogen sulfide release, the EPA confirmed the presence of

“emissions plumes,” 76 which makes it highly likely that aerosolized oil droplets formed due to the

chemical reaction with atmospheric constituents, including water.


72
   In re Limetree at ¶ 46.
73
   Id. at ¶ 47.
74
   Id. at ¶ 49.
75
   Id. at ¶ 51 (emphasis in original).
76
   Id. at ¶ 62.
                                                   52
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       153.    On April 23, 2021, Limetree Bay Terminals issued a press release stating:

       Limetree Bay Responding to Site Incident

       ST. CROIX, U.S. Virgin Islands (April 23, 2021) – The Limetree Bay refinery
       experienced an operating upset overnight and into the early morning hours which
       created a strong odor detectable outside the facility. Limetree has corrected the
       problem and will continue to monitor any additional impact to the outside
       community.

       The executive management of Limetree Bay sincerely apologizes for any impact to
       the public. 77

       154.    As a result of the April 23 Incident, multiple St. Croix schools and businesses were

forced to shut down, and U.S. Virgin Islands officials issued stay-indoors orders. Further, St.

Croix’s Covid-19 vaccination center was forced to close.

       155.    On April 24, 2021, the Virgin Islands Department of Health (“VIDOH”) issued a

press release alerting St. Croix residents to potential health effects from the Facility’s Refinery

emissions:




77
  Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Responding to Site Incident” (Apr.
23, 2021), available at https://www.limetreebayenergy.com/limetree-bay-responding-to-site-
incident/ (last accessed January 17, 2023).
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       VI Government Alerts St. Croix Residents About Potential Health Effects
       Caused By Refinery Emissions

       St. Croix, US Virgin Islands (April 24, 2021)— Commissioner Jean-Pierre L. Oriol
       of the Department of Planning and Natural Resources (DPNR) advises the
       community that the department has confirmed that there were elevated
       concentrations of H2S (Hydrogen Sulfide) in the No. 8 flare header at the Limetree
       Bay Facility. The department is in close communications with the facility, and an
       investigation is ongoing to determine necessary corrective measures.

       This foul, gaseous smell, which can smell similar to rotten eggs, has permeated
       throughout the Frederiksted area for the past few days.

       Health Commissioner Justa Encarnacion, RN, added, “any potential threat to the
       health of the public is always a concern of mine. As DPNR continues to monitor
       environmental effects, I encourage you to report symptoms like headaches, nausea,
       and especially those of a respiratory nature to your healthcare provider.”

       According to the Agency for Toxic Substances and Disease Registry, hydrogen
       sulfide can have mild to severe health impacts. Studies in humans suggest that the
       respiratory tract and nervous system are the most sensitive targets of hydrogen
       sulfide toxicity.

       Exposure to low concentrations of hydrogen sulfide may irritate the eyes, nose, or
       throat. It may also cause difficulty in breathing for some asthmatics. Respiratory
       distress or arrest has been observed in people exposed to extremely high
       concentrations of hydrogen sulfide.

       Exposure to low concentrations of hydrogen sulfide may cause headaches, poor
       memory, tiredness, and balance problems. Brief exposures to high concentrations
       of hydrogen sulfide can cause loss of consciousness. In most cases, the person
       regains consciousness without any other effects. However, some individuals may
       have permanent or long-term effects, such as headaches, poor attention span, poor
       memory, and poor motor function.

       Individuals with respiratory ailments such as allergies, lung disease, or asthma
       should consider taking protective actions such as staying indoors or temporarily
       relocating to areas less affected.

       The Department of Planning and Natural Resources (DPNR) and the Department
       of Health will monitor this situation and advise the community accordingly. If you
       have any questions or concerns, please call DPNR at (340) 773-1082 ext. 2221 or
       Environmental Health division at (340) 718-1311 ext. 3709. 78


78
  Press Release, United States Virgin Islands Department of Health, “VI Government Alerts St.
Croix Residents About Potential Health Effects Caused By Refinery Emission” (Apr. 24, 2021),
                                              54
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       156.    The VIDOH’s press release specifically noted the potential physical health effects

resulting from breathing hydrogen sulfide and encouraged residents to report symptoms such as

headaches, nausea, and symptoms of a respiratory nature to their healthcare providers.

       157.    That same day, on April 24, 2021, Limetree issued a false press release denying

any release of hydrogen sulfide occurred from April 22 to 23, 2021. Limetree falsely claimed that

the Incident involved only an unusually high level of sulfur dioxide emissions, and that the odor

of sulfur dioxide (similar to a struck match) can be smelled in amounts far below the level normally

considered dangerous to health. The text of this press release is below:

       Limetree Continues to Investigate Flare Incident; Clarifies Media Reports

       ST. CROIX, U.S. Virgin Islands (April 24, 2021) – Late evening April 22nd
       through the morning of April 23rd, the refinery experienced an operating upset in
       the sulfur processing part of the refinery. Limetree investigated and determined that
       this upset caused a pressure increase in some equipment, resulting in the opening
       of a pressure relief valve, and sending an unusually high amount of sulfur-
       containing gases to the flare, where they were safely burned. The pressure relief
       valve and flare are designed to work this way to protect the refinery workers and
       community.

       When the sulfur-containing gases burned in the flare, sulfur dioxide was produced.
       This unusually high level of sulfur dioxide coming from the flare unfortunately
       resulted in an odor that was evident to parts of the neighboring community. Sulfur
       dioxide has an odor similar to a struck match and can be smelled even at a very low
       concentration level, which is far below the level normally considered dangerous to
       health.

       The refinery workers took action to correct the upset condition, which eliminated
       the source of the bad odor by late morning April 23rd. After a few more hours, all
       traces of the odor dissipated on Friday.

       We would further like to clarify that the refinery did not experience a gas leak of
       hydrogen sulfide during this incident, as some media reports indicated. Hydrogen
       sulfide was a component in the gases that were safely burned in the flare, generating
       the sulfur dioxide that resulted in the odor.


available at https://doh.vi.gov/news/vi-government-alerts-st-croix-residents-about-potential-
health-effects-caused-refinery (last accessed Sept. 21, 2023).
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       The executive management of Limetree Bay sincerely apologizes on behalf of the
       entire organization for the unpleasant odor that came from the refinery yesterday
       and for its impact on our neighbors and the community. We are committed to
       investigating fully the reasons for this event in cooperation with local regulators,
       and to implement improvements to prevent it from happening again.

       For more information or to report an issue, please contact the Limetree Bay
       Command Center at (340) 692-3000. 79

       158.    During an April 30, 2021 site visit to the Facility by staff from EPA and other

regulators, “Limetree staff explained that the April 23, 2021 incident was related to the main sulfur

recovery unit #4’s fire eye detecting a lack of flame, and thus diverting the acid gas to the flare

rather than treating it. The flare itself had a flame burning at the time that would have burned the

hydrogen sulfide, producing sulfur dioxide.” 80

       159.    Problematically, Limetree did not have the appropriate environmental safeguards

in place to monitor sulfur dioxide or hydrogen sulfide. According to the EPA, “Limetree also does

not conduct any fenceline monitoring for SO2 or H2S; it only conducts fenceline monitoring for

benzene. Limetree’s predecessor, HOVENSA, operated five SO2 monitors near the perimeter of

the Facility, but those monitors have not been operated since 2013, after HOVENSA stopped

operating the Facility’s Refinery. Limetree has not restarted those SO2 monitors.” 81




79
   Press Release, Limetree Bay Terminals, LLC, “Limetree Continues to Investigate Flare Incident;
Clarifies Media Reports” (Apr. 24, 2021), available at https://www.limetreebayenergy.com/
limetree-continues-to-investigate-flare-incident-clarifies-media-reports/ (last accessed Jan. 17,
2023).
80
   In re Limetree at ¶¶ 58-60.
81
   Id. at ¶ 66.
                                                  56
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                iii.    Incident Three

        160.    On May 5, 2021, Incident Three occurred (the “May 5 Incident”). 82

        161.    This time, a “gaseous leak” resulted in at least 200 known reports from residents

complaining of the odor and serious health effects including “[n]ausea, vomiting, stomach aches,

itching, irritated eyes, and rash.”

        162.    While St. Croix does not currently have a fully operational hospital, at least nine

residents visited emergency rooms because of the May 5 Incident. Many others sought treatment

from private providers.

        163.    In addition, local schools were forced to shut down and send children home for the

second time in less than a month.

        164.    According to the EPA, “On May 5, 2021, community members began calling EPA

to report that an odor was emitting from the Facility. They described the odor as ‘sulfur,’ ‘gassy,’

‘burnt eggs,’ and ‘rotten.’ On May 6, 2021, community members continued to report odor emitting

from the Facility. At 7:08 PM est, a citizen caller reported that the odor was continuing and

described the fumes as ‘noxious.’ The caller also stated that the ‘materials in the air were causing

health problems’ for community members, including ‘head ache, sore throat, ear ache, nausea, and

lips and tongue tingling.’” 83




82
   The upheaval in major personnel changes among leadership at the Refinery continued, see supra
note 71, in early May 2021 with the replacement of Forgan McIntosh, the Chief Financial Officer
(“CFO”), with Steve Tompsett, as described in a press release issued by Limetree Bay Terminals,
LLC, stating that Tompsett would become the CFO of an entity called Limetree Bay Energy,
pursuant to the press release appearing to encompass Limetree Bay Refining and Limetree Bay
Terminals. See Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Appoints New Chief
Financial Officer” (May 3, 2021), available at https://www.limetreebayenergy.com/limetree-bay-
appoints-new-chief-financial-officer/ (last accessed Jan. 17, 2023).
83
   In re Limetree at ¶ 69.
                                                57
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        165.    Despite these warnings, on May 5, 2021, Limetree issued an initial statement on

Facebook once again falsely “denying that there were any problems at the Facility.” Limetree

stated in its Facebook post that Facility personnel had conducted a preliminary investigation, and

Limetree had concluded that “units are operating normally, and there is no activity that would

result in an odor.” 84

        166.    That same day, Limetree admitted environmental violations to the EPA and other

agencies, in direct contradiction to its false statements to the public. Per the EPA, “On May 5,

2021, Limetree environmental personnel reported to DPNR and EPA that the Facility had

exceeded the H2S limit at Flare #8 at approximately 9 PM est on May 5. At the time the email

notification was sent to DPNR and EPA at 10:12 PM est, Limetree environmental personnel stated

that H2S was back below the limit.” 85

        167.    On the next day, May 6, 2021, Defendants released the following statement:

“Limetree Bay has become aware of an odor affecting areas west of the facility. We are conducting

maintenance activity at the Coker unit, which has resulted in light hydrocarbon odors. We will

continue to monitor the situation, but there is the potential for additional odors while maintenance

continues. We apologize for any impacts this may have caused the community. Thank you.” 86

        168.    On May 6, 2021, due to the noxious odor released by the Refinery, the U.S. Virgin

Islands’ Bureau of Motor Vehicles closed due to the presence of a “gas like odor.” 87 On the same

day, the Virgin Islands’ Department of Education closed three schools. 88




84
   Id. at ¶¶ 69, 71.
85
   Id. at ¶ 72.
86
   Id. at ¶ 73.
87
   Id. at ¶ 76.
88
   Id. at ¶ 75.
                                                58
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        169.      On May 7, 2021, Virgin Islands Governor Albert Bryan “activated the … National

Guard … to address continuing reports of odor and heightened concern from the community.”89

The government “advised residents with respiratory ailments to avoid going outside or to

temporarily relocate to areas of the island that were less affected by the odors.” 90

        170.      On that same day, the Defendants reported to the EPA that yet another spike of H2S

was released into the environment as a result of the Refinery and Defendants’ operations thereof.91

        171.      Because of the visible plume, it is highly likely that aerosolized oil droplets formed

due to the chemical reaction with atmospheric constituents, including water. These droplets then

fell to the ground, contaminating Plaintiffs’ and Class Members’ residences, property and water

supplies.

        172.      On May 9, 2021, Limetree Bay Terminals issued another press release, stating:

        Limetree Bay Continues to Work with Government to Identify Odor

        ST. CROIX, U.S. Virgin Islands (May 9, 2021) – Limetree Bay Refining, LLC
        (“Limetree Bay” or the “Company”) continues to work with local and federal
        regulators to determine the source of recent odors affecting areas in the western part
        of St. Croix.

        In response to community concerns and to support efforts by the U.S. Virgin Islands
        Government to identify the source of recent odor complaints, industrial hygiene
        specialists at Limetree Bay conducted air monitoring beginning Friday and
        continuing through Saturday evening at five locations immediately to the West and
        Northwest of the refinery. This air monitoring detected zero concentration of
        hydrogen sulfide, zero concentration of sulfur dioxide and zero concentration of
        hydrocarbons. The results of this monitoring have been shared with the Department
        of Planning and Natural Resources (DPNR).

        Limetree Bay remains committed to cooperating fully with the local and federal
        government to identify the source of the odor and will work to immediately address



89
   Id. at ¶ 77.
90
   Id.
91
   Id. at ¶ 78.
                                                   59
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       any findings identified from the odor investigation that are attributable to the
       refinery. 92

               iv.     Incident Four

       173.    On May 12, 2021, Incident Four occurred, involving the same problematic Flare

#8.

       174.    Incident Four involved a “flare rainout” event, in which Flare #8 spewed a heavy

“pitch oil” on downwind communities. According to the EPA, “[o]n May 12, 2021 at

approximately 5:30 PM, Limetree reported to EPA that around 3:15 PM EST a flaring incident

occurred at the Refinery when the pressure in the coker drum rose, causing fire or flames. At the

time, Limetree was still unsure what specifically caused the flaring incident. Limetree reported

that during its investigation of the fire, Limetree discovered that liquid droplets of oil were on the

road west of the Facility.” 93 “Liquid droplets of oil” were also reported on properties in the

surrounding neighborhood. 94

       175.    Additionally, “[a]t 8:50 PM on May 12, 2021, Limetree staff told EPA staff by

phone that Limetree was stopping production after such a ‘big’ incident. This would not be a full

shutdown of the Refinery, but Limetree would stop production. Limetree would run some units on

circulation and the utilities/wastewater would still be in operation. The Limetree staff was not sure

how long production would be suspended.” 95




92
    Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Continues to Work with
Government to Identify Odor” (May 9, 2021), available at https://www.limetreebayenergy.com/
limetree-bay-continues-to-work-with-government-to-identify-odor/ (last accessed Jan. 17, 2023).
93
   In re Limetree at ¶ 79.
94
   Id.
95
   Id. at ¶ 84.
                                                 60
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        176.    The EPA once again indicated that “this type of event—let alone two such events

in a few months—is not common for a refinery startup.” 96 Or, in other words, such an incident was

not common for an operation other than one controlled by the Private Equity Defendants.

        177.    In response to this Incident, Limetree issued its own press release indicating that

“[t]his incident resulted in a release of oil droplets which traveled directly west.” Limetree further

advised certain residents to “disconnect downspouts to cisterns if accessible.” Specifically,

the press release stated, in pertinent part:

        Limetree Bay Responding to Flare Incident

        St. Croix, U.S. Virgin Islands (May 12, 2021) – On Wednesday, Limetree activated
        its Incident Command in response to an upset in the refinery at Flare Unit #8. This
        incident resulted in a release of oil droplets which traveled directly west.

        Preliminary investigations have revealed that there has been an impact to the
        Enfield Green community, as well as some industrial sites. Residents in Enfield
        Green are asked to disconnect downspouts to cisterns if accessible. Residents are
        also asked not to consume the water. Water distribution will be established for
        affected communities.

        In response to today’s incident, Limetree Bay has decided to temporarily suspend
        production activities until further notice. All processing units will be brought to a
        safe, stable condition.

        Limetree will continue to assess the impact and advise if additional neighborhoods
        are affected. If you think you may have been impacted by the release, please contact
        Limetree’s Incident hotline at (340) 692-3199.

        All applicable regulatory agencies were notified at the time of the incident, and
        Limetree’s top priority is the safety and well-being of its personnel, the community
        and environment. 97

        178.    The EPA called the May 12 Incident “a serious incident that led to exceedance of

the emission limit for sulfur dioxide, a toxic gas.”


96
   Id. at ¶ 89 (emphasis added).
97
   Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Responding to Flare Incident”
(May 12, 2021), available at https://www.limetreebayenergy.com/limetree-bay-responding-to-
flare-incident/ (last accessed Jan. 17, 2023).
                                                 61
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        179.    In the wake of the May 12 Incident, the Virgin Islands Territorial Emergency

Management Agency warned residents about a “gaseous odor” and urged those with respiratory

illnesses to stay inside.

        180.    Limetree issued another press release dated May 13, 2021, the following day,

regarding the cause of the May 12 Incident:

        Limetree Bay Continues Flare Incident Investigation

        Company dispatches field teams to assess Community Impact

        St. Croix, U.S. Virgin Islands (May 13, 2021) – Limetree Bay continues to
        investigate Wednesday’s flaring incident and assess the condition of the refinery’s
        equipment. Upon further investigation, it was determined that the flaring incident
        was caused by an upset at the Coker unit.

        As of noon Thursday, production at all of the process units were discontinued, and
        Limetree is nearing completion to bring them to a safe, stable condition.

        Limetree deployed teams to several communities west of the facility to assess the
        impact of Wednesday’s release, and field representatives have begun information
        gathering and property inspections. Thus far, investigations have revealed there
        are scattered impacts to neighborhoods as far west as Estate Whim.

        Residents who may have been affected by the oil release are reminded not to
        consume the water from their cisterns. Daily water distribution has been
        established for affected communities.

        Limetree sincerely apologizes for the impact this has caused the community and
        will continue to assess the impact and advise if additional neighborhoods are
        affected. If you think your property may have been impacted by the release, please
        contact Limetree’s Incident hotline at (340) 692-3199. 98

        181.    Limetree issued yet another press release dated May 18, 2021, stating that

operations at the Refinery had been suspended:




98
   Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Continues Flare Incident
Investigation” (May 13, 2021), available at https://www.limetreebayenergy.com/limetree-bay-
continues-flare-incident-investigation/ (last accessed Jan. 17, 2023) (emphasis in bold and italics
added).
                                                 62
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       Limetree Bay Confirms Refinery Operations Suspended

       St. Croix, U.S. Virgin Islands (May 18, 2021) – Limetree Bay Energy (“Limetree
       Bay” or the “Company”) is aware of persistent odor complaints across St. Croix
       and would like to reaffirm that the refinery has ceased operating.

       Limetree Bay immediately suspended operations after last Wednesday’s flare
       incident, which resulted in a release of oil to several Frederiksted neighborhoods,
       and all refining had been discontinued by Thursday morning. …

       The Company would like to assure residents that the refinery’s shutdown activities
       are not likely to cause such widespread odors detectable outside of the facility.
       Limetree Bay will continue to cooperate with the EPA and local regulators to
       identify and address the source of any odor attributable to refinery activities.

       Residents who think their property may have been impacted by the recent release
       should contact Limetree Bay’s Incident Hotline at (340) 692-3199. 99

       182.    Like the first Incident in February, Limetree established water distribution centers

and began conducting its own investigation. Indeed, because the event was significantly larger

than previous Incidents, Limetree hired the catastrophic response team of Sedgwick claims

administrators to inspect properties for contamination. Sedgwick physically inspected these

properties for contamination. Approximately 2,200 of the 2,300-2,400 homes inspected by

Sedgwick were identified as contaminated by the Releases. This number is notably underinclusive.

Sedgwick abruptly stopped its work after a few weeks, before completing all inspections, because

Limetree failed to pay Sedgwick for its services.




99
  Press Release, Limetree Bay Terminals, LLC, “Limetree Bay Confirms Refinery Operations
Suspended” (May 18, 2021), available at https://www.limetreebayenergy.com/limetree-bay-
confirms-refinery-operations-suspended/ (last accessed Jan. 17, 2023).
                                               63
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               v.      EPA Intervention

       183.    Because of the ongoing violations and the seemingly never-ending Incidents at the

Refinery, the EPA had no choice but to intervene.

       184.    On March 25, 2021, amid concerns raised by non-governmental organizations and

members of the community, the EPA withdrew the PAL permit granted to the Refinery in

December 2020, which had never gone into effect due to a number of appeals. Though the permit

was withdrawn, the Refinery’s operations were permitted to continue pursuant to the dozen other

Clean Air Act permits issued to HOVENSA and transferred to the Refinery.

       185.    On April 30, 2021 and June 16, 2021, the EPA issued Notices of Violations to

Limetree Bay Terminals and Limetree Bay Refining, respectively, for their failure to operate five

sulfur dioxide (“SO2”) ambient air monitors as required by the Title V Permit issued to the

Refinery. The Notice of Violations also cited Limetree Bay Terminals’ and Refining’s failure to

operate a meteorological tower used to monitor, collect and report wind direction data as required

by the Refinery’s permits.

       186.    And most importantly, on May 14, 2021, two days after the catastrophic Fourth

Incident, the EPA issued an Emergency Order addressed to Limetree Bay Terminals and Refining,

requiring that the Refinery immediately cease operations—an action the EPA had taken only three

times in the history of the Clean Air Act.

       187.    The Refinery has not resumed operations since the issuance of the EPA’s

Emergency Order, but the damage to the surrounding people, the island of St. Croix and the

property on the island continues unabated.

       188.    The harms caused by Defendants were a direct result of Defendants’ negligent and

reckless restart of the Refinery. Indeed, in finding that Limetree Bay Terminals and Refining had


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violated the Clean Air Act, the EPA noted that, “Limetree has a single Environmental Department,

known as the Health, Safety, and Environmental (“HSE”) Department, serving the entire Facility,

including the Refinery and marine loading terminal operations. In addition to managing

environmental compliance at the Facility, the HSE department also oversees safety and

implementation of COVID-19-related procedures. The entire HSE department consists of 5

employees . . . A Refinery of this size and complexity would be expected to have 10-20 full time

onsite staff in its health, safety and environment department.” 100

       189.    These findings show that Defendants were not adequately staffed or otherwise

capitalized to run a Refinery of this size—especially given the Refinery’s history and proclivity to

cause environmental disasters.

       190.    Further, following the EPA intervention and subsequent bankruptcy of Limetree

Bay Refining, West Indies Petroleum and Port Hamilton Refining and Transportation bought the

Refinery in December 2021. 101 By September 2022, less than a year after ownership passed, the

EPA conducted an inspection of the Refinery under new ownership and observed “significant

corrosion” of equipment, including corrosion of vessels, piping and valves. 102 The deplorable state

of the Refinery shows that it was in a similarly deplorable state during the Refinery’s previous

brief operation and further demonstrates that the restart was not executed in any kind of safe or

cautious manner.




100
    In re Limetree at ¶ 91-92.
101
             https://www.reuters.com/business/energy/corrosion-st-croix-refinery-risks-explosion-
catastrophic-releases-epa-2022-10-25/ (last accessed Sept. 21, 2023).
102
         https://www.washingtonpost.com/climate-environment/2022/10/28/refinery-st-croix-epa-
limetree/ (last accessed Sept. 21, 2023).
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       F.      The Corporate Façades

       191.    No corporate separateness existed between the Limetree Defendants in the restart

of the Refinery. At various times between the purchase of the Refinery out of the HOVENSA

bankruptcy and the restart of Refinery operations in early 2021, Limetree Bay Ventures, Limetree

Bay Preferred Holdings and Limetree Bay Holdings functioned as mere alter egos of Limetree Bay

Refining and Limetree Bay Terminals. These entities served no separate existence or function

outside of the corporate interests of Limetree Bay Refining and Limetree Bay Terminals, as

evidenced by the companies’: (i) maintenance of insurance coverage for the Refinery, (ii) lack of

employees and (iii) shared officers with Limetree Bay Refining and Limetree Bay Terminals.

       192.    Limetree Bay Refining and Limetree Bay Terminals also operated as mere alter

egos of each other. For example, Limetree Bay Refining and Limetree Bay Terminals were parties

to a Shared Services Systems Agreement (“Agreement”) pursuant to which both entities “share[d]

services (e.g., water, power, wastewater, etc.), facilities (e.g. on-site office space, employee

housing, parking lots, etc.), employees, and insurance coverage.” 103 Additionally, Limetree Bay

Refining and Limetree Bay Terminals had a single HSE Department that served the entire facility.

This sharing of services, assets and personnel resulted in an excessive comingling that far exceeds

any norms that characterize a sister-company relationship.

       193.    In addition to agreeing to share costs, employees and a HSE Department, Limetree

Bay Refining and Limetree Bay Terminals also blurred all physical separation between the two

entities by sharing property as well. The two entities reciprocally conveyed an undivided interest




103
   Declaration of Mark Shapiro in Support of Chapter 11 Petitions and First Day Motions at p. 9-
10 ¶ 26, ECF No. 8, In re Limetree Bay Refining, No. 21-32351 (Bankr. S.D. Tex. July 12, 2021).
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of all properties and facilities owned by each entity to the other entity, such that each entity “jointly

own as tenants in common” all properties and facilities owned by both entities. 104

        194.    Upon information and belief, Limetree Bay Terminals also siphoned funds from

Limetree Bay Refining by way of charging Limetree Bay Refining nearly $5.5 million in “storage

costs” each month for storage at a facility that both entities shared and co-owned.

        195.    Further, ArcLight, Freepoint and EIG dominated and controlled the Limetree

Defendants through yet another corporate façade. These Private Equity Defendants were the

primary entities responsible for capitalizing, and profiting from, the recommissioning of the

Limetree Bay Facility. The entities operating the Facility—Limetree Bay Ventures, Limetree Bay

Holdings, Limetree Bay Preferred Holdings, Limetree Bay Refining and Limetree Bay

Terminals—were set up as entities merely existing to create layers of separation between the

Private Equity Defendants. The Limetree Defendants had no money or financial resources but for

that given by the Private Equity Defendants, and the separation of these entities is fictitious and an

abuse of the privilege of incorporation.

        196.    The Private Equity Defendants woefully undercapitalized the refurbishment and

recommissioning of the Facility, specifically the Refinery, for an undertaking of its magnitude.

The entity’s undercapitalization is evidenced by, among other things, the four significant

environmental disasters that occurred in less than four months of operation (one occurring within

the first three days of operation), the wholly inadequate staffing at the Refinery in the short time it

operated, particularly in the HSE Department, and the Refinery’s current deplorable condition.

The Private Equity Defendants intentionally incurred risk that the Refinery would cause more


104
   See Objection and Reservation of Rights to Debtors’ Emergency Motion for Entry of Interim
and Final Orders at p. 5, ECF No. 252, In re Limetree Bay Refining, No. 21-32351 (Bankr. S.D.
Tex. July 31, 2021).
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environmental damage to the neighboring community, fully knowing that Limetree Bay Ventures,

Limetree Bay Preferred Holdings, Limetree Bay Holdings, Limetree Bay Refining and Limetree

Bay Terminals were undercapitalized and could not support such an operation.

         197.   Upon information and belief, the Private Equity Defendants were directly involved

in the decision to continue Refinery operations after the first, second, and third Incidents. These

entities were also aware of the Refinery’s continuous non-compliance with EPA regulations and

the Consent Decree nearly every day since December 15, 2020. After each environmental disaster,

the Limetree and Private Equity Defendants had the opportunity to comprehensively evaluate the

safety of continued Refinery operations, as expected in operational best practices of environmental

management. Despite the clear warnings that the Facility was not safe, and should not be operated,

these Defendants refused to close operations and instead continued to serve their own profit

motives. Any stateside refinery would have been immediately shut down after just one of these

toxic incidents. The Refinery operations were not restricted until so ordered by the EPA—after the

occurrence of four Incidents and a daily onslaught of emissions from the Refinery.

                vi.    Plaintiffs and the Class Were Devastated by the Toxic Incidents

         198.   The Incidents at the Refinery, which were purposefully, falsely, and massively

understated in the press releases issued by the Limetree Defendants, caused a severe, ongoing, and

well-documented human health crisis in St. Croix, in that the actions of Defendants and the

Refinery poisoned the environment, homes, real property, gardens, vegetation, soil, personal

property, water, cisterns, and plumbing systems of Plaintiffs and the Class, and exposed them to

hazardous, toxic, and carcinogenic material that can and has caused serious bodily injury and/or

death.




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       199.    The Incidents have had and continue to have a far-reaching impact on the people

living and working near the Limetree Bay Refinery, the majority of whom are Black, Brown, or

Latino, and many of whom are poor.

       200.    At a virtual town hall meeting held on May 13, 2021, St. Croix resident ChenziRa

Davis-Kahina stated emphatically, “[o]ur children are suffering. This is becoming uncomfortable

to a point that we have to put out a hashtag like, ‘We can’t breathe.’ We have to put out hashtags

like, ‘Stop killing us.’ We have to put out hashtags to get people to hear what’s happening here in

a place that’s supposed to be America’s paradise.”

       201.    Jennifer Valiulis, who directs the St. Croix Environmental Association,

underscored the effect of the Incidents on the local community and the need for immediate action

stating, “[l]ately we are seeing incidents happening nearly daily with this refinery: Fires, flares,

spills, noxious emissions, oil raining down into neighborhoods. Each one of these events has

impacted our community in disastrous ways — severe illness, loss of food, loss of drinking water.

At some point, we need to say that enough is enough and demand accountability from Limetree.”

       202.    Plaintiffs and Class members were desperate for answers and relief. The St. Croix

Environmental Association noted “[w]e are receiving more and more calls each day from people

that are frustrated with the lack of information and desperate for some relief from the air pollution

that is making them sick.”

       203.    According to Frandelle Gerard, a local business leader and the executive director

of the Crucian Heritage and Nature Tourism Foundation, “People are suffering, hospital

admissions are up, and we don’t know how long this will continue.”

       204.    As a result of the Incidents, in addition to the substantial economic harms that arise

from the need for massive remediation of the pollution caused by the Refinery, as detailed above,


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including, without limitation, the cleaning of all affected roofs, cisterns and plumbing systems to

assure the delivery of safe water, Plaintiffs and many Class members also suffered personal injuries

including, for example, loss of consciousness, death, becoming bedridden, suffering from swelling,

stabbing pain and irritation of the eyes, a burning sensation in the nose and on the tongue, sore

throat, nausea, vomiting, upset stomach, diarrhea, nose bleeds, rashes, fatigue, uncontrollable

coughing, shortness of breath, chest pains, dizziness, headaches, discomfort from unsettling odors,

sleeplessness, difficulty sleeping, aggravation of preexisting respiratory conditions and stress,

mental anguish, anxiety and depression resulting from their experience and fear concerning the

long-term health implications of their exposure to the Toxins.

        205.   Many Class members, including children, were hospitalized or sought medical care

from clinics on St. Croix, and some residents even had to leave St. Croix to seek additional health

care.

        206.   In issuing its May 14 Order, the EPA noted the significant health impact that

exposure to certain Toxins could have on the affected Class members of St. Croix. In particular,

with respect to hydrogen sulfide, exposure to even low concentrations is known to cause irritation

to the eyes, nose, or throat and may cause difficulty in breathing for some asthmatics. People

exposed to high concentrations of hydrogen sulfide can suffer respiratory distress or arrest and

neurological effects.

        207.   Similarly, exposure to very high levels of sulfur dioxide is considered immediately

dangerous to life and health. In addition, burning of the nose and throat, breathing difficulties, and

severe airway obstructions may occur.

        208.   Moreover, the oil released by the Incidents is composed of hydrocarbons. Adverse

health impacts have been associated with the inhalation or ingestion of, or dermal contact with,


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petroleum hydrocarbons or residue or water effected by petroleum hydrocarbons. Short-term

exposures have caused skin and eye irritation, while longer term oral exposures have shown liver

effects. In addition, some oil constituents have been classified as known or possible carcinogens.

       209.    Making things far worse, thousands of Class members still do not have access to

adequate clean and safe water at their homes to survive.

       210.    In the days, weeks, and months that followed the Incidents, Class members

discovered that their homes, cisterns, gardens, vegetation, cars, and other personal property were

contaminated with oil and other Toxins. Specifically, Plaintiffs and Class members, and their

property, were unnecessarily exposed to Refinery Contaminants because of Defendants’ failure to

operate the Refinery responsibly and lawfully, and Plaintiffs and Class members were also

subjected to unreasonable odors, gases, vapors, and fumes because of Defendants’ conduct in

operating the Refinery.

       211.    The Toxins resulting from Defendants’ operations at the Refinery, as well as the

odors, gases, vapors, and fumes, impacted Plaintiffs’ and Class members’ properties and property

values, are a blight and nuisance on Plaintiffs’ and the Class members’ communities, and have

deprived Plaintiffs and Class members of their free use and enjoyment of their property.

       212.    In particular, cisterns are used on St. Croix to catch and store rainwater to use for

drinking, bathing, washing dishes, brushing teeth, feeding livestock, and watering crops, plants,

and vegetation.

       213.    Following the Incidents, Plaintiffs and the Class observed a distinctive sheen on the

surface of their cistern water, felt an oily residue on their skin after bathing, and noted the strange

taste that their cistern water now has. They have also lost crops and watched their livestock die

due to the Toxins.


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       214.    Over 17,000 cisterns are located within the geographic zone impacted by the

Incidents, including over 11,000 residences that have a cistern as the only source of clean water

and over 5,000 residences that have a cistern and also access to public water for supplemental or

emergency needs.

       215.    Many Class members are poor and do not have the money to remediate the pollution

from the Incidents. Many families impacted by the pollution and contamination have been forced

to shower at the homes of friends or relatives that live outside the affected geographic area and

have been forced to use laundromats for washing clothes. Some residents are forced to wash their

clothes in the contaminated water because it is prohibitively expensive and time-consuming to do

otherwise. Class members have had to buy bottled water to drink and cook with ever since the

discharges. In short Plaintiffs and the Class have been unable to access clean and safe water to

secure the basic necessities of their daily lives. This has gone on for more than two years with no

end in sight, as Defendants have utterly failed to remediate the problems that they caused,

notwithstanding the availability of insurance.

       216.    Underscoring the seriousness of the conditions faced by Plaintiffs and the Class,

following the Incidents, researchers from Bennington College in Vermont conducted a Community

Impact Survey of area residents. Based on the survey, the researchers concluded that every

neighborhood west and north of the Refinery was impacted by the Toxic Incidents, and the impacts

of these events were particularly severe in predominantly low-income Black and Brown

neighborhoods downwind of the Refinery. 105 A review of just some of the survey responses lays

bare the devastating impact on the community’s health and property that resulted from the


105
     Bennington College, Environmental Justice Begins in St. Croix, available at
https://www.bennington.edu/center-advancement-of-public-action/environment-and-public-
action/environmental-justice-begins-st (last accessed Sept. 21, 2023).
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Incidents. 106 The summary of findings from the Bennington College researchers include, for

example:

       SUMMARY OF FINDINGS

       Community Impact Survey was conducted June 17 to July 11, 2021 and elicited
       681 responses from 120 different neighborhoods in St. Croix, US Virgin Islands.


106
    See id. (“There was a period leading up to the time when the refinery closed where every single
day was difficult to breathe. It was as if we were inhaling oil with each breath.” (resident of
Frederiksted); “The inside of our home was filled with visible dense ‘fog’ that hung on
everything.” (resident of Whim); “In April I was affected by the smell of oil and sulfur that caused
headaches and nausea, In May, specifically May 12th and 13th, the smell was overwhelming
causing me to cough, have severe headaches and difficulty breathing. Because I live in Whim, it
affected me at night but during the day at my work in downtown Frederiksted, it was even more
severe.” (resident of Whim); “Our cistern has been contaminated, and multiple people in our house
have thrown up from the gaseous fumes.” (resident of Williams Delight); “There has been a
nauseating and noxious sulphuric smell in the area. The smell has been impacting myself and my
family, making our eyes, noses, and throats burn. In addition to this it causes dizziness and makes
it hard to breathe. Our cistern water has been impacted and following an episode of rain that
followed a flaring event, there were gelatin-like black globs in our water. We can no longer use
our water for cooking or brushing our teeth. The water irritates my daughter’s skin, who is affected
significantly because she is allergic to sulphur. I am a farmer and I am concerned about my crops
and my animals. I now have to purchase water, sometimes several times weekly, for uses that
normally I would use my cistern water for.” (resident of Williams Delight); “Headaches, nausea,
vomiting at times, difficulty breathing, lethargic. My 2 dogs and cat have also been impacted too,
very lethargic at times, runny eyes, itchy skin. I had to bring them inside. When the refinery was
fully operation something was going on between 1 am and 3 am, I would be awaken with coughing
and gagging, and a severe headache. My sinus would also be irritated. I would have to wash my
face with cold water and rinse my nostrils out for relief. On occasion I had to use my inhalant.”
(resident of Adventure Hill); “We experienced dizziness and nausea. I was light headed and
generally ill. Once it rained, it intensified the smell and I was going to pass out. We had to cover
our faces with towels just to be able to walk around. My cat experienced diarrhea and irregular
symptoms that day that I believe are an effect of the poisonous gas.” (resident of Frederiksted);
“Strong vapors that caused headache, sore throat, tight chest, coughing. Even the animals were
having symptoms.” (resident of Mars Hill); “The kids lay on the ground in my room complaining
about headaches and stomach pain. They do not want to go outside whenever it's happening. I also
do a lot of fishing and can only imagine how much is getting in the ocean. Fishing from shore has
been terrible like nothing is there.” (resident of Two Williams); “I woke up in the middle if the
night coughing. My throat was sore. I tried to breathe through my pillow. A strong metallic odor
prevailed early around 4 a.m. My trees leaves turned yellow along with the fruit. Some fruit had
black spots. The water in my toilet bowl from the cistern has black sediment on the bottom.”
(resident of Whim).
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            Every neighborhood downwind of Limetree reported significant impacts to health
            and environment. Many of these impacts have not previously been reported.

            Impacts were severe in predominantly low-income Black and Brown
            neighborhoods that line the northwest side of the refinery.

            95% of responses from frontline neighborhoods reported frequent noxious smells
            from Limetree Refinery.

            Over 70% of responses from downwind neighborhoods reported trouble breathing
            during Limetree emission episodes.

            143 households reported cisterns contaminated by Limetree emissions.

            Over 100 households reported gardens and farms damaged by emissions.

            67 residents sought medical assistance during emission episodes.

            This survey also uncovered 3 untimely deaths that family members attribute to toxic
            emissions from Limetree.

            97% of responses believe the refinery should be required to operate a state-of-the-
            art air monitoring system before restarting.

            90% of residents polled believe EPA should have a full-time employee at Limetree.

            80% of residents polled do not trust Limetree to disclose environmental
            problems. 107

            217.   Indeed, the Incidents affected practically the entire western half of St. Croix. Soil

samples taken from areas west of the Refinery were found to be highly contaminated, while those

taken from areas east of the Refinery were not. Similarly, cistern drinking water samples taken

from areas west of the Refinery (i.e., downwind), were found to be contaminated with oil-range

(C28 – C40) petroleum hydrocarbons also deposited by the Incidents. Such a compound was not

found in samples taken from the area east of the Refinery.




107
      Id.
                                                    74
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               vii.    The Disproportionate Effects of Defendants’ Conduct on Minority
                       Communities

       218.    Plaintiffs and members of the putative Class were disproportionately harmed

because of the Defendants’ conduct alleged herein.

       219.    As the EPA has recognized repeatedly, “Limetree Bay is in a community

predominantly made up of people of color and low-income populations who are already

disproportionately affected by environmental burdens,” and “[t]hese disproportionate burdens

present environmental justice concerns.” 108

       220.    Indeed, the EPA found that in the neighborhoods adjoining the Refinery, 27% of

residents live below the poverty line and 75% are people of color, and the EPA concluded that “in

light of the burden already experienced by the nearby low income and minority populations, [the

EPA] is requiring Limetree to resume an ambient air monitoring network that will measure NO2,

SO2 and PM2.5.” 109

       221.    But Defendants balked at those requirements and refused to implement the

necessary monitoring to protect these minority populations, as evidenced by the EPA’s April 30

Notice of Violation to the Refinery for failing to install the monitors.

       222.    This is not the first time that Defendant ArcLight has exploited vulnerable

communities of color. According to data analyzed by the University of Massachusetts, ArcLight




108
      https://www.epa.gov/newsreleases/epa-notifies-limetree-bay-clean-air-act-violations (last
accessed Sept. 21, 2023).
109
    U.S. EPA Region 2 Office, Final Environmental Justice Analysis for Limetree Bay Terminal
and Refining (Limetree) PAL Permit, at p. 14 (Sept. 19, 2019), https://context-
cdn.washingtonpost.com/notes/prod/default/documents/993fcf3f-f029-4915-aec6-
a6232778de70/note/7b883ce9-4bca-4ca6-84e8-e143c39a3748 (last accessed Jan. 5, 2023).
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has incurred millions of dollars in penalties for environmental violations, with minority

communities accounting for more than 35% of the impact of those violations. 110

       223.    This data shows that ArcLight preys on communities of color, where environmental

laws are underenforced, by refusing to implement the necessary protective and remedial measures

in place to prevent harmful, toxic incidents—like those endured by Plaintiffs and Class

Members—on the assumption that these vulnerable communities lack the resources to seek

recourse for the harm caused by ArcLight’s exploitation.

V.     CLASS ACTION ALLEGATIONS

       224.    Class Representatives bring this action on behalf of themselves and, under Federal

Rules of Civil Procedure 23(a) and (b)(3), as representatives of a Class defined as follows:

       All persons who owned property (real and/or personal), and/or operated a business,
       and/or were in or worked or resided on St. Croix and who have been impacted by
       the Defendants’ conduct alleged herein from the date on which the Refinery
       Defendants acquired the Limetree Bay Facility through the present.

       225.    Alternatively, Class Representatives bring this action on behalf of themselves and

the following Sub Class, defined as:

       All persons who owned or rented property, and/or operated a business, on St. Croix
       who sustained property damage and/or business losses as a result of Defendants’
       conduct alleged herein from the date on which the Defendants acquired the
       Limetree Bay Facility through the present.

       226.    In addition, Plaintiffs allege a separate medical monitoring class defined as follows:

       All persons who reside or were located within the affected geographic area during
       any of the Incidents (the “Medical Monitoring Class”).




110
   https://grconnect.com/tox100/ry2018/index.php?search=yes&company1=535&chemfac=chem
fac&advbasic=adv&sortp=city (last accessed Sept. 21, 2023).
                                                76
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        227.    The Class and Medical Monitoring Class are referred to collectively herein as the

“Classes.”

        228.    Numerosity. Members of the Class are so numerous that joinder is impracticable.

Plaintiffs do not know the exact size of the Class but believe that there are at least tens of thousands

of class members geographically dispersed throughout the United States. As such, a class action

is superior to other methods of adjudication due to its capacity for efficiency and its preservation

of judicial economy, more specifically.

        229.    Typicality. Plaintiffs’ claims are typical of the claims of the members of the Class.

Plaintiffs and all members of the Class were damaged by the same wrongful conduct of

Defendants.

        230.    Plaintiffs will fairly and adequately protect and represent the interests of the Class.

The interests of Plaintiffs are coincident with, and not antagonistic to, those of the Class.

Accordingly, by proving their own claims, Plaintiffs will prove other class members’ claims as

well.

        231.    Adequacy of Representation. Plaintiffs are represented by counsel who are

experienced and competent in the prosecution of class action chemical/toxin(s) contamination

litigation. Plaintiffs and their counsel have the necessary financial resources to adequately and

vigorously litigate this class action. Plaintiffs can and will fairly and adequately represent the

interests of the Class and have no interests that are adverse to, conflict with, or are antagonistic to

the interests of the Class.

        232.    Commonality and Predominance. There are questions of law and fact common

to the Class that predominate over any individual issue, including, but not limited to:




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           •   Whether Defendants’ conduct alleged herein violates the laws as stated in the

               Cause of Action section, supra, at VI;

           •   Whether Defendants owed a duty to the Class;

           •   Whether Defendants breached any duties owed to the Class;

           •   Whether Defendants were negligent in failing to properly maintain and operate

               the Limetree Bay Refinery, including without limitation, prior to and following

               its reopening;

           •   Whether Defendants were reckless in failing to properly maintain and operate

               the Limetree Bay Refinery, including without limitation, prior to and following

               its reopening;

           •   Whether the Defendants allowed a “release” or “threatened release” of a

               hazardous substance from the Refinery within the meaning of 42 U.S.C. §

               9607(a)(4);

           •   Whether the Limetree Bay Refinery constituted a public nuisance;

           •   Whether the Limetree Bay Refinery constituted a private nuisance;

           •   Whether the contamination that resulted from the Incidents constituted a

               trespass to the Class Members;

           •   Whether Class Members are entitled to medical monitoring and early detection

               of disease;

           •   The appropriate nature of class-wide equitable relief; and,

           •   The appropriate measurement of restitution and/or measure of damages to the

               Class Members.



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       233.    The questions of law and fact common to the Classes members predominate over

any questions that may affect only individual Class members because Defendants acted on grounds

generally applicable to the entire Classes.

       234.    Superiority. Class treatment is a superior method for the fair and efficient

adjudication of the controversy because, among other things, class treatment will permit a large

number of similarly situated persons to prosecute their common claims in a similar forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that numerous individual actions would engender. The benefits of proceeding through the

class mechanism, including providing injured persons and entities with a means of obtaining

redress on claims that likely would be impracticable to pursue individually, substantially outweigh

any difficulties that may arise in the management of this class action.

VI.    CAUSES OF ACTION

                                              COUNT I
                                         NEGLIGENCE
                                    (Against All Defendants)

       235.    Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       236.    The actions of Defendants were negligent.

       237.    Defendants ArcLight, EIG and Freepoint were “hands-on” in the acquisition,

rehabilitation, permitting and operation of the Refinery. Through Defendants’ ArcLight, EIG and

Freepoint’s subsidiaries, including Limetree Bay Ventures, Limetree Bay Holdings, Limetree Bay

Refining and Limetree Bay Terminals, Defendants bought the Limetree Bay Facility out of the

HOVENSA bankruptcy, made repairs and retrofits to the Limetree Bay Facility, sought permitting



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and waiver of the significant HOVENSA fine levied by the EPA as a means to protect the St. Croix

community, and operated the Refinery.

       238.     Defendants ArcLight, EIG and Freepoint’s direct involvement in the acquisition,

rehabilitation, permitting and operation of the Refinery, and Defendants BP Products reckless

pressure for a premature restart, makes these Defendants responsible for the negligent restart of

the Refinery.

       239.     Defendants failed to properly store, use, refine and/or dispose of oil and other

Toxins.

       240.     Defendants failed to ensure that the Refinery was safe to reopen when they knew

or should have known that it was not. Defendants also failed to hire and/or train personnel to

conduct the reopening in a safe and effective manner.

       241.     Despite   Defendant    ArcLight’s     acclaimed    guidance    on     “environmental

management,” Defendants continued the Refinery operations after the first, second, and third

Incidents. After each Incident, Defendants had the opportunity to comprehensively evaluate the

safety of continued Refinery operations. Despite the clear warnings that the Refinery was not safe,

and should not be operated, Defendants refused to close or limit operations and instead continued

to serve their own profit motives. Any stateside refinery would have been immediately shut down

after just one of these toxic incidents. The Refinery operations were not restricted until so ordered

by the EPA—after the occurrence of four toxic incidents. Defendants not only failed to implement

best practices; Defendants failed to adhere to any inkling of reasonable practices.

       242.     Defendants’ conduct fell below the standard of care of a reasonable property owner

and/or operator in similar circumstances.




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         243.   Defendants knew and/or should have known that their failure to properly store, use,

refine, and/or dispose of oil and other chemicals, Toxins, and particulates at the Limetree Bay

Refinery would allow these dangerous materials to contaminate nearby neighborhoods and cause

their residents personal injuries and property damages, including but not limited to diminution in

value.

         244.   Defendants failed to warn and/or provide Plaintiffs, the Class and the public at large

with adequate and timely notice of the hazards and their potential impacts.

         245.   Defendants’ negligence caused both physical personal injury and real and personal

property damage that also resulted in emotional distress and anxiety to Plaintiffs and Class

Members.

         246.   As a direct and proximate result of Defendants’ conduct as set forth herein,

Plaintiffs and Class Members have suffered damages.

                                             COUNT II
                                     GROSS NEGLIGENCE
                                     (Against All Defendants)

         247.   Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

         248.   In the Virgin Islands, a claim for gross negligence requires a showing that: (a) the

defendant owed plaintiff a legal duty of care; (b) the defendant breached that duty in such a way

to demonstrate a wanton, reckless indifference to the risk of injury to plaintiff; (c) and the

defendant’s breach constituted the proximate cause of (d) damages to plaintiff.

         249.   Defendants owed a legal duty of care to Plaintiffs and the Classes, and Defendants

breached that duty.



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       250.     Defendants’ breaches demonstrate a wanton, reckless indifference to the risk of

injury to the Plaintiffs and the Classes.

       251.     As a result, Plaintiffs and the Classes have been damaged as alleged herein.

                                              COUNT III
                                       NEGLIGENCE PER SE
   (Against Defendant Limetree Bay Terminals, LLC (d.b.a. Ocean Point Terminals), as
                Owner of Operating Permits for the Limetree Bay Facility)

       252.     Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       253.        The actions of Defendant as set forth herein constitute negligence per se.

       254.     Courts in the Virgin Islands have recognized negligence per se as a cause of action.

See Antilles School, Inc. v. Lembach, 64 V.I. 400, 423 (V.I. 2016) (citations omitted). “A plaintiff

suing for negligence per se relies on the doctrine that obviates the normal showings of the duty

and breach-of-duty elements of an ordinary negligence claim by relying on the defendant’s

violation of a statute or other legally-binding regulation; that is, the plaintiff must demonstrate that

the defendant had a duty to follow the law, failed to follow the law, and that such failure caused

damages to the plaintiff as a person within the class intended to be protected by the statute or

regulation.” Id.

       255.     Defendant had a duty to comply with numerous statutes, and subsequently failed to

do so. Specifically, Defendant failed to comply with 28 V.I.C. § 331 (Private Nuisance), (see infra

Count VII), 42 U.S.C. § 7401, et seq. (Clean Air Act), 42 U.S.C. § 9601, et seq. (CERCLA), 12

V.I.C. § 201, et seq. (Virgin Islands Air Pollution Control Act), 12 V.I.C. § 701, et seq. (Oil Spill

Prevention and Pollution Control Act), and 12 V.I.C. § 181, et seq. (Virgin Islands Water Pollution

Control Act).



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       256.    One of the purposes of the Clean Air Act is “to protect and enhance the quality of

the Nation’s air resources so as to promote the public health and welfare….” 42 U.S.C. §

7401(b)(1).

       257.    Defendant breached the standard of conduct required by the Clean Air Act when

the H2S input gas concentration limit specified in 40 C.F.R. § 60.103a(h) and the Refinery’s Title

V Operating Permit of 162 parts per million volume determined hourly on a 3-hour rolling average

basis were violated by multiple orders of magnitude.

       258.    Defendant also breached the standard of conduct required by the federal Clean Air

Act’s National Emissions Standards of Hazardous Air Pollutants (“NESHAPs”). Specifically, 40

C.F.R. § 63.670 regulates flare control devices. These requirements create various operation limits

for individual flares, including but not limited to (a) smokeless design capacity (40 C.F.R. §

63.670(c)), (b) maximum flare tip velocity (id. at § 63.670(d)), and (c) combustion zone operating

limits (id. at § 63.670(e)). Flare #8 was subject to these requirements. Due to the nature of the

Incidents and how they were caused by Flare #8, it is highly likely that these operating limits were

exceeded.

       259.    CERCLA was enacted to ensure ‘“those responsible for problems caused by the

disposal of chemical poisons [must] bear the costs and responsibility for remedying the harmful

conditions they created.’” U.S. v. E.I. Duport De Nemours and Co. Inc., 423 F.3d 161, 164 (3d

Cir. 2005) (quoting In re Tutu Water Wells CERCLA Litig., 326 F.3d 201, 206 (3d Cir. 2003)

(citation omitted)).

       260.    Defendant breached the standard of conduct required by CERCLA § 107, 42 U.S.C.

§ 9607, when they released hazardous substances, including H2S (a listed hazardous substance




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pursuant to 40 C.F.R. § 302.4, Table), polynuclear aromatic hydrocarbons (same), polycyclic

organic matter (same), including naphthalene (same), and waste oils into the environment.

       261.    Defendant breached the standard of conduct required by the Air Pollution Control

Act when they emitted air pollutants in violation of 12 V.I.C. §§ 208 and 217, which prohibit

emissions of air contaminants and noxious and objectionable odors.

       262.    Defendant breached the standard of conduct required by the Oil Spill Prevention

and Pollution Control Act when they discharged oil, petroleum or their byproducts, and other

pollutants into or upon coastal waters, estuaries, tidal flats, beaches and land adjoining the seacoast

of the Territory in violation of 12 V.I.C. § 704.

       263.    Defendant also breached the standard of conduct required by Air Pollution Control

Act, 12 V.I.C. § 201, et seq.

       264.    The Air Pollution Control Act’s “declaration of purpose” indicates that it seeks “to

promote health, safety and welfare” and “to prevent injury to human, plant and animal life, and

property.”

       265.    The purpose of the Air Pollution Control Act is to protect residents of the Virgin

Islands from emissions of pollutants, and Plaintiffs and Class Members are among the class of

persons the Air Pollution Control Act was meant to protect.

       266.    Defendant’s discharge of oil and other chemicals, Toxins and particulates into and

onto Plaintiffs’ and Class Members’ residences violated the Air Pollution Control Act.

       267.    Defendant’s actions constitute a violation of the Water Pollution Control Act, 12

V.I.C. § 180, et seq.




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       268.    The Water Pollution Control Act’s “declaration of policy” indicates that it seeks

“to promote health, and welfare” and “to protect, maintain and improve the quality thereof for

public water supplies ... for domestic, recreational and other beneficial uses.”

       269.    The purpose of the Water Pollution Control Act is to protect residents of the Virgin

Islands from the discharge of pollutants into and pollution of “any waters of the United States

Virgin Islands.”

       270.    ‘“Waters of the United States Virgin Islands’ means all waters within the

jurisdiction of the United States Virgin Islands including … all other bodies or accumulations of

water…. Natural or artificial, public or private….” Class Members’ cisterns and wells constitute

Waters of the United States Virgin Islands, 12 V.I.C. § 182(f).

       271.    Plaintiffs and Class Members are among the class of persons the Water Pollution

Control Act was meant to protect.

       272.    Unless a person has a current permit to discharge, “the discharge of any pollutant

into the waters of the United States Virgin Islands or the causing of the waters of the Virgin Islands,

by any person, shall be unlawful.” 12 V.I.C. § 185(a).

       273.    The chemicals emitted from the Refinery during the four Incidents constitute

“pollutants,” as defined by 12 V.I.C. § 182(b).

       274.    The emissions of contaminants from the Refinery during the four Incidents caused

“pollution,” which is defined to include “contamination, or other alteration of the physical [or]

chemical . . . properties, of any waters of the United States Virgin Islands, including change in …

taste, color, … or odor of the waters, or such discharge of any liquid, gaseous, solid…. or other

substance into any waters as will or is likely to create a nuisance or render such waters harmful,

detrimental, or injurious to public health, safety or welfare….” 12 V.I.C. § 182(a).


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       275.    Defendant’s unpermitted discharge of oil and other chemicals, Toxins, and

particulates into waters of the United States Virgin Islands as well as pollution of Plaintiffs’ and

Class Members’ cisterns and wells, violated the Water Pollution Control Act.

       276.    Each Incident described herein constituted a “discharge,” as defined as 12 V.I.C. §

182(i), from a “point source,” as defined at 12 V.I.C. § 182(j), as a flare stack is a “discernable,

confined and discrete conveyance” and “conduit” “from which pollutants” were discharged.

       277.    The purposes of the aforementioned statutes are to protect the interests of Plaintiffs

and the Class Members.

       278.    As a direct and proximate result of Defendant’s conduct as set forth herein,

Plaintiffs and Class Members have suffered damages and are entitled to injunctive relief pursuant

to 12 V.I.C. § 190(a).

                                            COUNT IV
                         ABNORMALLY DANGEROUS CONDITION
                                     (Against All Defendants)

       279.     Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       280.    The actions of Defendants as set forth herein constitute maintaining an abnormally

dangerous condition.

       281.    The Refinery is located just south and east of certain residential communities,

including the community in which Plaintiffs reside or work. Further, the natural resources of the

U.S. Virgin Islands are particularly sensitive and precious.

       282.    Defendants ArcLight, EIG, and Freepoint, were “hands-on” in the acquisition,

rehabilitation, permitting, and operation of the Limetree Bay Facility. Through Defendants’

ArcLight, EIG and Freepoint’s subsidiaries, including Limetree Bay Ventures, Limetree Bay

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Holdings, Limetree Bay Refining and Limetree Bay Terminals, Defendants bought the Limetree

Bay Facility out of the HOVENSA bankruptcy, made repairs and retrofits to the Refinery, sought

permitting and waiver of the significant HOVENSA fine levied by the EPA as a means to protect

the St. Croix community, and operated the Refinery.

       283.    Defendants ArcLight, EIG and Freepoint and BP Products’ direct involvement in

the acquisition, rehabilitation, permitting and/or operation of the Refinery, makes these Private

Equity Defendants responsible for the failed restart of the Refinery.

       284.    Defendants’ use, storage, refining, and/or disposal of oil and other chemicals,

Toxins and particulates was solely for Defendants’ business purposes.

       285.    Defendants knew and understood that there was a high risk that the oil and other

chemicals, Toxins and particulates could contaminate nearby neighborhoods, including the risk of

contaminating the only source of clean water for residents, and thereby cause residents personal

injuries and property damage, including but not limited to the diminution of value.

       286.    Defendants’ use, storage, refining and/or disposal of oil and other chemicals,

Toxins and particulates at the Refinery did in fact cause serious harm to Plaintiffs’ and Class

Members’ person, chattel and property, including both real and personal property.

       287.    As a direct and proximate result of Defendants’ conduct as set forth herein,

Plaintiffs and Class Members have suffered damages.




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                                            COUNT V

       RESPONSE COSTS UNDER THE COMPREHENSIVE ENVIRONMENTAL
              RESPONSE, COMPENSATION, AND LIABILITY ACT

    (Against Defendant Limetree Bay Terminals, LLC (d.b.a. Ocean Point Terminals))

       288.    Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       289.    The Refinery is a “facility” within the meaning of 42 U.S.C. § 9601(9).

       290.    Defendant is (1) a current owner or operator of the Refinery; (2) a former owner or

operator of the Refinery at the time the hazardous substances described herein were released; (3)

a generator or other party who arranged for disposal of hazardous substances at the Refinery;

and/or (4) a transporter of hazardous substances to the Refinery pursuant to 42 U.S.C. § 9607(a).

       291.    Defendant “released” or “threatened release[s]” into the environment of hazardous

substances, as defined by 42 U.S.C. § 9601(14), from the Facility within the meaning of 42 U.S.C.

§ 9607(a), including but not limited to H2S, polycyclic organic matter (a listed hazardous air

pollutant pursuant to 42 U.S.C. § 7412), including naphthalene (same), waste, oils and other

hazardous substances.

       292.    To the extent regulated, such releases were in violation of Defendant’s Title V

Permit and other requirements of the Clean Air Act, and therefore unpermitted.

       293.    As a result of the release of hazardous substances from the Refinery, Plaintiffs and

Class Members have incurred response costs consistent with the national contingency plan.

Response costs include testing and cleaning costs, and the cost to purchase bottled water.

       294.    Plaintiffs and Class Members have suffered harm as a result of these releases and

are entitled to declaratory judgment, injunctive relief and response costs incurred as a result

thereof.


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                                              COUNT VI
                                        PUBLIC NUISANCE
                                      (Against All Defendants)

          295.   Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

          296.   The actions of Defendants constitute a public nuisance as defined under 14 V.I.C.

§ 1461.

       297.      Specifically, Plaintiffs’ and Class Members’ homes, bodies, and emotional well-

being have been damaged by Defendants’ release of oil and other injurious chemicals, Toxins and

particulates into their neighborhoods. However, the public at large has not endured such damages.

       298.      Plaintiffs and the Class are entitled to damages as a result thereof.

                                             COUNT VII
                                       PRIVATE NUISANCE
                                      (Against All Defendants)

          299.   Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

          300.   Defendants’ actions constitute a private nuisance.

          301.   Defendants’ discharge of oil and other chemicals, Toxins and particulates into

Plaintiffs’ and Class Members’ residences and other properties interfered with Plaintiffs’ and Class

Members’ use and enjoyment of their homes and properties, damaged their homes and properties

and caused personal injuries.

       302.      By so doing, Defendants have wrongfully and unreasonably interfered with

Plaintiffs’ and Class Members’ private use and enjoyment of their homes and properties.

       303.      As a result, Plaintiffs and the Class have been damaged as alleged herein.




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                                           COUNT VIII
                            STATUTORY PRIVATE NUISANCE
                                    (Against All Defendants)
       304.    Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       305.    Defendants’ actions constitute a private nuisance in violation of 28 V.I.C. § 331.

       306.    Defendants’ discharge of oil and other chemicals, Toxins, and particulates into

Plaintiffs’ and Class Members’ residences and other properties, interfered with Plaintiffs’ and

Class Members’ use and enjoyment of their homes and properties, damaged their homes and

properties and caused personal injuries.

       307.    By so doing, Defendants have wrongfully and unreasonably interfered with

Plaintiffs’ and Class Members’ private use and enjoyment of their homes and properties.

       308.    As a result, Plaintiffs and the Class have been damaged as alleged herein.

                                            COUNT IX
                                           TRESPASS
                                    (Against All Defendants)
       309.    Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       310.    Defendants’ actions constitute a trespass.

       311.    Defendants’ discharge of oil and other chemicals, Toxins and particulates into

Plaintiffs’ and Class Members’ residences and other properties interfered with Plaintiffs’ and Class

Members’ use and enjoyment of their homes and properties, damaged their homes and properties

and caused personal injuries.

       312.    As a result, Plaintiffs and the Class have been damaged as alleged herein.




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                                             COUNT X
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                     (Against All Defendants)
       313.    Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       314.    The actions of Defendants negligently inflicted emotional distress on Plaintiffs and

Class Members.

       315.    Defendants owed Plaintiffs and Class Members a duty of care to ensure that they

did not suffer from serious emotional distress, which duty arose by operating an abnormally

hazardous condition, through the common law, and through statutory and regulatory obligations

to prevent hazardous material from escaping from the Refinery.

       316.    Defendants breached their duty to Plaintiffs and the Class.

       317.    As a direct and proximate result of Defendants’ breach, Plaintiffs and Class

Members have suffered severe emotional injury.

       318.    As a result, Plaintiffs and the Class have been damaged as alleged herein.

                                             COUNT XI
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                     (Against All Defendants)
       319.    Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

       320.    The actions of Defendants constitute the intentional infliction of emotional distress

on Plaintiffs and Class Members.

       321.    In the Virgin Islands, a claim of Intentional Infliction of Emotional Distress requires

a showing that a party: (1) intentionally or recklessly; (2) engaged in extreme and outrageous

conduct that exceeds all possible bounds of decency such that it is regarded as atrocious and utterly

intolerable in a civilized society; (3) that caused the plaintiff to suffer severe emotional distress.

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        322.    Defendants know and understand that exposure to discharge of oil and other

chemicals, Toxins and particulates and other particulates and hazardous substances presented and

continues to present serious risks to the health and property of thousands of St. Croix residents.

        323.    Defendants knew that before Defendants’ ownership, control, and operation of the

Limetree Bay Refinery, the property was owned and operated by HOVENSA, LLC, a joint venture

between Hess Corporation and Petroleos de Venezuela, the national oil company of Venezuela,

and before that by HOVIC, a wholly-owned subsidiary of the Hess Corporation formerly known

as Amerada Hess.

        324.    Defendants knew that under HOVIC and HOVENSA, the Refinery exceeded

allowable emissions of known harmful substances, including nitrogen oxide, sulfur dioxide,

volatile organic compounds and benzene.

        325.    Defendants knew that in 2011, investigators discovered that the pipes carrying the

Refinery’s waste product had been corroding, slowly leaking more than 43 million gallons of oil

into the island’s largest aquifer.

        326.    Defendants knew that as a result of the massive leak, the EPA ordered HOVENSA

to pay civil penalties of more than $5 million and to spend more than $700 million in new pollution

controls to protect the public health and resolve Clean Air Act violations in St. Croix. The EPA

required HOVENSA to implement new and upgraded pollution controls, more stringent emission

limits and aggressive monitoring, and leak detection and repair practices to reduce emissions from

refinery equipment and process units.

        327.    Defendants knew that instead of paying its fines and undertaking the required

improvement projects, the Hess Corporation shut down the HOVENSA facility in 2012.




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        328.      Defendants knew of the history of prior emissions at the Refinery and their impact

on the community.

        329.      Defendants knew or should have known that the Refinery was not in a proper

condition to reopen, and that the start-up would result in discharges and dangers to Plaintiffs and

Class Members.

        330.      As a direct and proximate result of Defendants’ actions, Plaintiffs and Class

Members were harmed and suffered severe emotional injuries.

                                              COUNT XII

                                      MEDICAL MONITORING

                                       (Against All Defendants)

        331.      Plaintiffs’ allegations are incorporated by reference as though fully set forth herein.

        332.      Plaintiffs and the Medical Monitoring Class members were significantly exposed

to the Toxins that are proven to be hazardous to health because of Defendants’ repeated failures to

prevent the discharge of the Toxins since the February 2021 restart of the Refinery, including

because of the Incidents referenced herein.

        333.      The exposure to these dangerous substances is such that Plaintiffs and the Medical

Monitoring Class members have been placed at an increased risk of contracting latent illness and

disease, including but not limited to cancer, and as such, require medical monitoring which

Defendants are responsible for providing and paying for.

        334.      Monitoring and testing procedures for cancer and other illnesses associated with

exposure to the Toxins exist which make the early detection and treatment of the disease possible

and beneficial.




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      335.      As a result, the Court should establish a Court-supervised and administered trust

fund and medical monitoring regime to compensate Plaintiffs and Medical Monitoring Class

members for their economic damages.

                                      RELIEF REQUESTED

          336. Plaintiffs and members of the putative Class seek the following relief:

            a.) An order approving Class Representatives as named herein as Lead Plaintiffs for

                this matter;

            b.) Damages;

            c.) Medical monitoring for Plaintiffs and the Medical Monitoring Class;

            d.) Response costs pursuant to 42 U.S.C. § 9607(a);

            e.) Punitive damages where allowable;

            f.) Pre- and post-judgment interest as allowed by law;

            g.) Declaratory judgment that Defendants are responsible for past and future costs

                (including response costs under 42 U.S.C. § 9607) to remedy the harm caused to

                Plaintiffs, Class Members and their properties;

            h.) Attorneys’ fees and costs pursuant to any applicable statutes and/or regulations,

                including but not limited to 42 U.S.C. § 7604(d), 42 U.S.C. § 7607(f), 42 U.S.C. §

                9607 and 5 V.I.C. § 541; and

            i.) All other relief this Court deems necessary, just and proper.

                                     JURY TRIAL DEMAND

   337.         Plaintiffs hereby demands a jury trial for all claims so triable.




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                                  Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing with the Court’s ECF system on March 5, 2024,

which sent notice to all counsel of record.

                                                           /s/ Carly E. Jonakin




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